         Case 3:23-cv-01337-MPS           Document 1     Filed 10/12/23   Page 1 of 98




                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT

THEODORA F. ANTAR,
Individually & as legal guardian of her         §      CASE NO. _ _ _ _ _ _ _ _ _ __
minor children A. L. and JV.                    §
                                                §      COMPLAINT FOR FRAUD,
Plaintiff,                                      §      RACKETEERING, ABUSE OF
                                                §      PROCESS, AND CIVIL CONSPIRACY
V.                                              §
                                                §
HON. JANE KUPSON GROSSMAN                       §
Official &       individual capacities,         §
JUDICIAL BRANCH OF THE STATE                    §      DEMAND FOR JURY TRIAL
OF CONNECTICUT, TOWN OF                         §
 ORANGE, ORANGE DEPARTMENT                      §
 OF POLICE SERVICES, CITY OF                    §
NEW       BRITAIN,       ABDELGHANY             §
ANTAR, ADAM REMBISZ, Official                   §
and         individual         capacities,      §
ALEXANDRA WARZOCHA, Official                    §
and individual capacities, ALEXIS               §
SMITH,       Official     &     individual      §
capacities, ALLIE JACOBS, Official              §
and individual capacities, AMANDA
NUGENT,       Official & individual
capacities,     AMANDA            DEVAN
NARDOZZI, Official and individual
capacities, AMBER DOE, Official and
individual capacities, SGT. AMEER
WILLIAMS, Official & individual
capacities,    AMINA        CONNELLY,
Official    &    individual     capacities
ANASTASIA GANIM, Official and
individual     capacities,     ANDREW
KNOTT,       Official     &     individual
capacities, ANDREW MARSHALL,
Official & individual capacities, ANN
DENNY,       Official     &     individual
capacities,                ANNAMARIA
BARANOWSKI, Official & individual
capacities, ANNISA KLAPPROTH,
Official &      individual capacities,
ANTHONY ZUPPARDI, Official &
individual capacities, See pg. 2 *


1- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS         Document 1      Filed 10/12/23     Page 2 of 98




DEFENDANTS CONTINUED FROM PAGE 1:


ANY AND ALL CLERKS/JUDICIAL MARSHALS PRESENT AT NEW HAVEN SUPERIOR COURT
ON 4/8/22 6/1/22 6/28/22 4/5/23 5/25/23 6/15/23 8/1/23 & 10/4/23, Official and individual capacities,
ASHLEY GRAY, ASST. CHIEF MAX MARTINS, Official and individual capacities, ASSISTANT
CLERK DYLAN WINGARD, Official and individual capacities, ASSISTANT STATE'S ATTORNEY
LAURA DELEO, Official and individual capacities, ASSISTANT STATE'S ATTORNEY REBECCA
BARRY, Official and individual capacities, BARBARA BELLUCCI, Official and individual capacities,
BASIL R.A. MAHONEY, Official and individual capacities,         BENJAMIN ABRAMS, Official and
individual capacities, BENJAMIN GETTINGER, Official and individual capacities, BETSY KELLER,
Official and individual capacities, BHCARE INC, BHCARE FOUNDATION INC, BLAKE SULLIVAN,
Official and individual capacities, BRAD SAXTON, Official and individual capacities, BRUCE
MARTIN, BUNNY VILLAGE LEARNING CENTER LLC, CARLA SMITH STOVER, PHD., Official
and individual capacities, CARRIE BRICKHOUSE, Official and individual capacities,            CASEY
BRINKMAN, Official and individual capacities, CAT ITAYA, Official and individual capacities,
CENTER FOR CHILDREN'S ADVOCACY INC., CHARLES & BONI-VENDOLA LLC, CHRIS R.
NELSON, Official and individual capacities, CHRISTINA DOE, Official and individual capacities,
CHRISTOPHER GANIM, CHRISTOPHER KATAGIS, CITY OF NEW BRITAIN, CITY OF NEW
HAVEN, CITY OF WATERBURY, ASSISTANT SUPERVISORY STATES ATTORNEY COLLEEN V.
ZINGARO, Official and individual capacities, ASSOCIATION OF COURT SECURITY OFFICERS-
CONNECTICUT INC., JEFFREYS. LEHMAN, Official and individual capacities, CONNECTICUT
DEPARTMENT OF EMERGENCY SERVCIES AND PUBLCI PROTECTION, CONNECTICUT
ALLIANCE TO END SEXUAL VIOLENCE INC., CONNECTICUT COALITION AGAINST
DOMESTIC      VIOLENCE       INC.,   CONNECTICUT        DEPARTMENT         OF   PUBLIC     SAFETY,
CONNECTICUT HUSKY HEALTH, CONNECTICUT JUDICIAL BRANCH CENTRALIZED ADA
OFFICE, CONNECTICUT JUDICIAL REVIEW COUNCIL, CONNECTICUT LEGAL SERVICES,
CONNECTICUT OFFICE OF THE VICTIM ADVOCATE, CONNECTICUT OFFICE OF VICTIM
SERVICES,     CONNECTICUT        STATE     DEPARTMENT        OF    CHILDREN      AND     FAMILIES,
CONNECTICUT PROTECTIVE MOMS                  INC.,   CONNECTICUT STATE CHILD SUPPORT
ENFORCEMENT SERVICES, CONNECTICUT STATE DEPARTMENT OF SOCIAL SERVICES,



2- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS        Document 1         Filed 10/12/23      Page 3 of 98




CONNECTICUT STATE DIVISION OF CRIMINAL JUSTICE, CONNECTICUT STATE POLICE
TROOP I BETHANY, CONNECTICUT WOMEN'S EDUCATION AND LEGAL FUND, CONOR
DUFFY, Official and individual capacities, CRIS DOE, Official and individual capacities,
MAGISTRATE CYNTHIA ANGER, Official and individual capacities, DANIEL BURNS, Official and
individual    capacities,   DENNIS   REILLY,   Official    and   individual   capacities,   DIAMANTO
ANTONELLIS, DISPATCHER WHITHAM #206, Official and individual capacities, DONALD
CRETELLA, DONNA DICOSMO, DR. ANTHONY CAMPAGNA, Official and individual capacities,
DR. ERIC FRAZER, Official and individual capacities, CONNECTICUT LEGAL SERVICES, INC.,
DR. KIMBERLY CITRON, Official and individual capacities, DR. ROBERT HOROWITZ, Official and
individual capacities, DR. WENDY LEVY, Official and individual capacities, OFFICER E AVILES OF
THE NEW HAVEN POLICE DEPARTMENT #263, Official and individual capacities, ELIZABETH
PROTZMAN, Official and individual capacities, ELWYN BREWSTER QUIRK, Official and individual
capacities,   ERIN KRYGIER, Official and individual capacities, EUGENE ZINGARO, GABRIEL
MINA, GANIM LEGAL LLC, GERALD VIGLIONE JR., GINA KILLIAN, Official and individual
capacities, GOVERNOR NED LAMONT, Official and individual capacities, GREGORY GALLO,
HAPPY EVEN AFTER FAMILY LAW LLC,                HEALING SPRINGS WELLNESS CENTER LLC,
HEATHER COLLINS, Official and individual capacities, HEAVENLY GIFT CHILDCARE CENTER
LLC, HON. ARTHUR HILLER, Official and individual capacities, HON. CHERIE PHOENIX-SHARPE,
Official and individual capacities, HON. CHRISTINE P. RAPILLO, Official and individual capacities,
HON. CHRISTOPHER GRIFFIN, Official and individual capacities, HON. DAWNE G. WESTBROOK,
Official and individual capacities, HON. EDWARD GRAZIANI, Official and individual capacities,
HON. ERIKA MONIQUE TINDILL, Official and individual capacities, HON. JAMES ABRAMS,
Official and individual capacities, HON. JAMES KENEFICK, Official and individual capacities, HON.
KEVIN RANDOLPH, Official and individual capacities, HON. MARGARITA H. MOORE, Official and
individual capacities, HON. MARKT. GOULD, Official and individual capacities, HON. MATTHEW P.
VACCARELLI, Official and individual capacities, HON. MAUREEN PRICE-BORELAND, Official and
individual capacities, HON. JON M. ALANDER, Official and individual capacities, OFFICER
MORTALLI OF THE HAMDEN POLICE DEPARTMENT, Official and individual capacities,
SEVERAL OTHER JANE DOE AND JOHN DOE OFFICERS FROM THE HAMDEN POLICE
DEPARTMENT, Official and individual capacities, HON. MICHAEL KAMP, Qfficial and individual



3- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS        Document 1     Filed 10/12/23    Page 4 of 98




capacities, HON. PETER BROWN, Official and individual capacities, HON. SCOTT JONES, Official
and individual capacities, HON. TAMMY GEATHERS, Official and individual capacities, HOWARD
LEVINE, Official and individual capacities, IRENE ANTAR O.D., Official and individual capacities,
JAMES HENKE, Official and individual capacities, JAMES LAMBO, Official and individual capacities,
JAMES ZEOLI FIRST SELECTMAN OF THE TOWN OF ORANGE, Official and individual capacities,
JOHN CARANGELO, Official and individual capacities, PJ SHANLEY, Official and individual
capacities, MITCHELL R. GOLDBLATT, Official and individual capacities, RALPH OKENQUIST,
Official and individual capacities, JUDY W. WILLIAMS, Official and individual capacities, TOWN OF
ORANGE CONNECTICUT BOARD OF SELECTMEN, TOWN OF ORANGE BOARD OF POLICE
COMMISSIONERS, TOWN OF ORANGE BOARD OF POLICE COMMISSIONER CHAIRMAN
JACK BARTON, Official and individual capacities, MARIAN HURLEY, Official and individual
capacities, ROY CUZZOCREO, Official and individual capacities, NYJAHWAHN WALKER, Official
and individual capacities, CHRISTOPHER CARVETH, Official and individual capacities, JAMIE
HOBART LAMBO, Official and individual capacities, JANE ADAMIK, Official and individual
capacities, JANET ORTIZ, Official and individual capacities, MAGISTRATE JENNIFER AGUILAR,
Official and individual capacities, JENNIFER GALLO LODICE, JESSICA MAYO PH.D, Official and
individual capacities, JESSICA STRUSKY, Official and individual capacities, JIA LUO, Official and
individual capacities, JOAQUINA BORGES KING, Official and individual capacities, JOHN PARESE,
Official and individual capacities, JOSEPH DECICCO, Official and individual capacities, JOSEPH M.
PORTO, Official and individual capacities, JOSEPH MERSCHMAN, Official and individual capacities,
JOSH LAMBO, Official and individual capacities, JUDICIAL MARSHAL ANDREWS OF THE NEW
HAVEN SUPERIOR COURT, Official and individual capacitie, JUDICIAL MARSHAL HAYDEN #567
OF THE NEW HAVEN SUPERIOR COURT, Official and individual capacities, JUDICIAL MARSHAL
RUNLETT OF THE NEW HAVEN SUPERIOR COURT, Official and individual capacities, JUSTIN
ATTAI, Official and individual capacities, KATHERINE VERANO, Official and individual capacities,
KAREN BOWERS, Official and individual capacities , KATHERINE VERANO, Official and individual
capacities, SAFE FUTURES INC., KEVIN DUNN, Official and individual capacities, KLINGBERG
FAMILY CENTER INC., KRISTIANNA TYLER, Official and individual capacities, KRISTIN WOLF,
LANCIA BLATCHLEY, Official and individual capacities, LARAE PLUMMER, Official and individual
capacities, LEONARD RODRIGUEZ, Official and individual capacities, LIEUTENANT ANDERSON



4- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS       Document 1     Filed 10/12/23   Page 5 of 98




OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, LIEUTENANT
BENJAMIN BORELLI OF THE CONNECTICUT STATE POLICE TROOP I BETHANY, Official and
individual capacities, LIEUTENANT DERUBEIS OF THE ORANGE POLICE DEPARTMENT, Official
and individual capacities, LIEUTENANT JOHN PRISAVAGE OF THE NEW BRITAIN POLICE
DEPARTMENT, Official and individual capacities, LIEUTENANT JUDICIAL MARSHAL DADIO
BADGE #113 OF THE NEW HAVEN SUPERIOR COURT, Official and individual capacities, LISA B.
GLIBERTO, Official and individual capacities,   DETECTIVE LISA R. STEEVES OF THE NEW
BRITAIN POLICE DEPARTMENT, Official and individual capacities, LIZZY CRETELLA, LORI DOE
CLERK OF THE NEW HAVEN SUPERIOR COURT, Official and individual capacities, LORI
SEMRAU, Official and individual capacities, LOUIS A. ANNECCHINO, Official and individual
capacities, LUZ SANTANA, Official and individual capacities, LYNDA SORENSEN, CJ.fficial and
individual capacities, MAKANA ELLIS, 0.fficial and individual capacities, MARESSA LATORACCA,
O.fficial and individual capacities, MARGARET PENNY MASON, Official and individual capacities,
MARGOT KENEFICK BURKLE, Official and individual capacities, MARK D. PHILLIPS, Official and
individual capacities, MARK WACHTER, MARTHA WEILER, MARY KOZICKI, Official and
individual capacities, MARY-ANN CHARLES, MATTHEW JOHN LODICE, Official and individual
capacities, MATTHEW J. LO DICE ON BEHALF OF HIS MINOR CHILD D.L., Official and individual
capacities, MATTHEW LODICE ON BEHALF OF HIS MINOR CHILD S.L., 0.fficial and individual
capacities, MAURAMASTRONY, Official and individual capacities, MEGHAN C. MCGRATH, 0.fficial
and individual capacities, MELISSA SWAN, MAYOR JOE GANIM, 0.fficial and individual capacities,
MEREDITH MCGLOIN, Official and individual capacities, MERIT LAJOIE, Official and individual
capacities, MICHAEL HILLIS, MICHELLE M. MURPHY, 0.fficial and individual capacities,
MILFORD SUPERIOR COURT CLERK LAURA, Official and individual capacities, MONICA CLOUD
ROGERS, Official and individual capacities, MONICA PEREZ, Official and individual capacities,
NANCY DOE CLERK FROM THE NEW HAVEN SUPERIOR COURT, Official and individual
capacities, NANCY SASSER, Official and individual capacities, NANCY VALENTINO, 0.fficial and
individual capacities, NATALIE CABAN, Official and individual capacities, NEW BRITAIN POLICE
DEPARTMENT, NEW HAVEN CHILD SUPPORf ENFORCEMENT SERVICES, NEW HAVEN
COUNTY BAR ASSOCIATION, NEW HAVEN LEGAL ASSISTANCE ASSOCIATION INC., NEW
HAVEN POLICE DEPARTMENT, NICOLE TUNG, Official and individual capacities, NUMEROUS



5- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23   Page 6 of 98




JANE DOE AND JOHN DOE DISPATCH AND POLICE OFFICERS OF THE CONNECTICUT STATE
POLICE TROOP I BETHANY DEPARTMENT, Official and individual capacities, NUMEROUS JANE
DOE AND JOHN DOE DISPATCH AND POLICE OFFICERS OF THE NEW BRITAIN POLICE
DEPARTMENT, Official and individual capacities, NUMEROUS JANE DOE AND JOHN DOE
DISPATCH AND POLICE OFFICERS OF THE ORANGE POLICE DEPARTMENT, Official and
individual capacities, OFFICE OF VICTIM COMPENSATION, OFFICE OF VICTIM SERVICES
TRAINING, OFFICER ALIZA ESPOSITO OF THE ORANGE POLICE DEPARTMENT, Official and
individual capacities, OFFICER ANDREW SATKOWSKI OF THE ORANGE POLICE DEPARTMENT,
Official and individual capacities, OFFICERARTABANE OF THE ORANGE POLICE DEPARTMENT,
Official and individual capacities, OFFICER BAILEY OF THE ORANGE POLICE DEPARTMENT,
Official and individual capacities, OFFICER JEFFREY FERNANDES OF THE ORANGE POLICE
DEPARTMENT, Official and individual capacities, OFFICER JOHN LANE OF THE ORANGE POLICE
DEPARTMENT, Official and individual capacities, OFFICER JUSTIANO NIEVES OF THE NEW
HAVEN POLICE DEPARTMENT #221, Official and individual capacities, OFFICER KURT CORREIA
#132 OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities,             OFFICER
PADRO OF THE WATERBURY POLICE DEPARTMENT, Official and individual capacities, OFFICER
PISCITELLI OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, OFFICER
REPICE OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, OFFICER
RISTIANO OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, OFFICER
TAYLOR OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, OFFICER
YELENIK OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, DEAN
PAUL CHILL, Official and individual capacities, PAUL GANIM, qf]icial and individual capacities,
PAUL LODICE JR., Official and individual capacities, PAUL LODICE SR., Official and individual
capacities, PREFERRED PEDIATRICS, QUINNIPIAC UNIVERSITY, QUINNIPIAC UNIVERSITY
SCHOOL OF LAW, RACHEL REEVES, Official and individual capacities, RANDI CALABRESE,
RANEIL SMITH, Official and individual capacities, RAPE CRISIS CENTER OF MILFORD INC,
RENEE    CASEY     MD,   Official   and individual   capacities,   RENEW YOUR     MIND     LLC,
REPRESENTATIVE MARY WELANDER, Official and individual capacities, CHIEF ROBERT J.
GAGNE, Official and individual capacities, ROBERT MCCONNELL, Official and individual capacities,
ROY BOWERS, Official and individual capacities, SAFE HAVEN OF GREATER WATERBURY,



6- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS      Document 1     Filed 10/12/23    Page 7 of 98




SANDRA LUGO GINES, Official and individual capacities, SARAH HANNA, Official and individual
capacities, SCOTT LODI CE, Official and individual capacities, SCOTT LO DICE ON BEHALF OF HIS
MINOR CHILD T.L., Official and individual capacities, SEAN MCELLIGOTT, Official and individual
capacities, SENATOR JAMES MARONEY, Official and individual capacities, SERGEANT BARTLEY
OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities, SERGEANT JARED
BARSELAU OF THE NEW BRITAIN POLICE DEPARTMENT, Official and individual capacities,
HON. KAREN DEMEOLA, Official and individual capacities, SERGEANT JOEL PORTORREAL OF
THE CONNECTICUT STATE POLICE TROOP I OF BETHANY, Official and individual capacities,
SERGEANT JUDICIAL MARSHAL POWERS BADGE #157 OF THE NEW HAVEN SUPERIOR
COURT,     Official and individual capacities, SERGEANT JUDICIAL MARSHAL SCHWEITZER
BADGE #129 OF THE NEW HAVEN SUPERIOR COURT, Official and individual capacities,
SERGEANT KIRBY OF THE ORANGE POLICE DEPARTMENT, Official and individual capacities,
SEVERAL JANE DOE AND JOHN DOE CONNECTICUT JUDICIAL MARSHALS FROM THE
MILFORD SUPERIOR COURT, Official and individual capacities, SEVERAL JANE DOE AND JOHN
DOE CONNECTICUT JUDICIAL MARSHALS FROM THE NEW HAVEN SUPERIOR COURT,
Official and individual capacities, SEVERAL JANE DOE AND JOHN DOE DERBY SUPERIOR
COURT CLERKS, Official and individual capacities, SEVERAL JANE DOE AND JOHN DOE
MILFORD CONNECTICUT SUPERIOR COURT CLERKS, Official and individual capacities,
SEVERAL JANE DOE AND JOHN DOE NEW HAVEN SUPERIOR COURT CLERKS, Official and
individual capacities, SHAKERIA BROWN, Official and individual capacities, SHARI-LYNNE
CUOMO SHORE, SHAWNIEL CHAMANLAL, Official and individual capacities, SHELBY
SUMMERS, Official and individual capacities, STACY VOTTO, Official and individual capacities,
STAN STRUSKY, STATE OF CONNECTICUT, STATE OF CONNECTICUT DIVISION OF
CRIMINAL JUSTICE,       STATE OF      CONNECTICUT SENATE          DEMOCRATS,      STEPHANIE
BERNSTEIN, STEPHANIE ROBERGE, Official and individual capacities, STEPHANIE SGAMBAfI,
Official and individual capacities, TAHLISA BROUGHAM, Official and individual capacities, TAMAR
BIRCKHEAD, Official and individual capacities, THE CENTER FOR FAMILY JUSTICE INC., THE
DECICCO LAW FIRM LLC, THE UMBRELLA CENTER FOR DOMESTIC VIOLENCE SERVICES
OF BHCARE, THE UNIVERSITY OF CONNECTICUT, THOMAS A. ESPOSITO, Official and
individual capacities, TIM POTHIN, Official and individual capacities, TOWN OF ORANGE FIRST



7- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS     Document 1    Filed 10/12/23   Page 8 of 98




SELECTMANS OFFICE, UNIVERSITY OF CONNECTICUT SCHOOL OF LAW, US DEPARTMENT
OF JUSTICE CIVIL RIGHTS DIVISION, VICTIM RIGHTS CENTER OF CONNECTICUT,
VIOLENCE AGAINST WOMEN PREVENTION PROGRAM, WELTY ESPOSITO & WEILER LLC,
WHOLE HOUSE REMODELING COMPANY LLC, WILLIAM TONG, Official and individual
capacities, YALE CHILD ABUSE CLINIC, SAFE FUTURES INC.,YALE UNIVERSITY, YALE
UNIVERSITY CHILD STUDY CENTER, ZINGARO CRETELLA AND RASILE LLC, DAVID A.
CARLSON, Official and individual capacities, WATERBURY POLICE DEPARTMENT OPERATOR
452, Official and individual capacities, ANY AND ALL JANE DOE AND JOHN DOE DISPATCH
OPERATORS FROM THE WATERBURY POLICE DEPARTMENT ON DUTY FROM 10/8/23-
10/11/23, Official and individual capacities, ANY AND ALL JANE DOE AND JOHN DOE
DETECTIVES FROM THE WATERBURY POLICE DEPARTMENT ON DUTY FROM 10/8/23-
10/11/23, Official and individual capacities, ANY AND ALL JANE DOE AND JOHN DOE OFFICERS
FROM THE WATERBURY POLICE DEPARTMENT ON DUTY FROM 10/8/23-10/11/23, Official and
individual capacities, ANY AND ALL JANE DOE AND JOHN DOE SOCIAL WORKERS FROM THE
DEPARTMENT OF CHILDREN AND FAMILIES PRESENT AND INVOLVED IN INCIDENTS OF
10/8/23-10/11/23, Official and individual capacities, ANY AND ALL JANE DOE AND JOHN DOE
SOCIAL WORKERS FROM THE DEPARTMENT OF CHILDREN AND FAMILIES 24 HOUR CARE
LINE OPERATOR SYSTEM WHO TOOK REPORTS REGARDING A.LAND THE INCIDENTS OF
10/8/23-10/11/23, Official and individual capacities, CARMELINA CALABRESE, Official and
individual capacities, SUPERVISOR STEPHANIE N. DOE DIRECTOR OF QUALITY FOR THE
QUALITY       DEPARTMENT OF ST. MARY'S HOPSITAL, Official and individual capacities,
DETECTIVE AGUILAR OF THE WATERBURY POLICE DEPARTMENT, Official and individual
capacities, ANY AND ALL JANE DOE AND JOHN DOE PARAMEDICS DISPATCHED TO 48
QUARRY HILL RD WATERBURY CT IN RESPONSE TO THE WELFARE OF MINOR CHILD A.L
FOR ANY AND ALL OF THE INCIDENTS OF 10/8/23-10/11/23, Official and individual capacities,
ANY AND ALL JANE DOE AND JOHN DOE WATERBURY POLICE DEPARTMENT OFFICERS
DISPATCHED TO 48 QUARRY HILL RD WATERBURY CT IN RESPONSE TO THE WELFARE OF
MINOR CHILD A.L FOR ANY AND ALL OF THE INCIDENTS OF 10/8/23-10/11/23, Official and
individual capacities,   ANY AND ALL JANE DOE AND JOHN DOE EMPLOYEES OF SAINT
MARY'S HOSPITAL WHO HAD ANY CONTACT WITH A.L. OR WERE PRESENT AT SAINT



8- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 9 of 98




MARY'S HOSPITAL FROM 10/8/23-10/11/23, Official and individual capacities, HONORABLE
JUDGE JON M. ALANDER, Official and individual capacities, OFFICER J. SEEGER OF THE
WATERBURY POLICE DEPARTMENT, Official and individual capacities, MELANIE S. BUCKLEY,
Official and individual capacities, SAINT MARY'S HOSPITAL, AMANDA DOE, Official and
individual capacities, SAFE FUTURES INC., GERAGHTY & BONNANO LLC, MARK DUBOIS,
NEW HAVEN COUNTY BAR FOUNDATION INC, CONNECTICUT BAR ASSOCIATION, EMILY
KULIKAUSKAS, Official and individual capacities, THE FOUNDATION OF THE NEW HAVEN
COUNTY BAR, CLIFFORD GARNETT, Official and individual capacities, OFFICER NASUFI OF
THE WATERBURY POLICE DEPARTMENT, Official and individual capacities, OFFICE OF THE
STATES ATTORNEY JUDICIAL DISTRICT OF ANSONIA-MILFORD, STATES ATTORNEY
MARGARET E. KELLEY, Official and individual capacities, ACCESS HEALTH INTERNATIONAL
INC., TOWN OF HAMDEN, HAMDEN POLICE DEPARTMENT, OFFICER JOSEPHY MORTAL! OF
THE HAMDEN POLICE DEPARTMENT, Official and individual capacities, JULIO ORTIZ, Official
and individual capacities, FORTIFIED INVESTIGATIONS AND SECURITY LLC, CONNECTICUT
BAR ASSOCIATION INC., DIRECTOR OF HEALTH FOR THE TOWN OF ORANGE AMIR
MOHAMMAD, Official and individual capacities. LISA ZAPPONE, Qfjicial and individual capacities,
TRINITY HEALTH, INC., TRINITY HEALTH OF NEW ENGLAND CORPORATION INC., SAINT
MARY'S HOSPITAL OF WATERBURY, TRINITY HEALTH OF NEW ENGLAND EMERGENCY
MEDICAL SERVICES INC., THE COMMUNITY FOUNDATION FOR GREATER NEW HAVEN INC.
Defendants, VALENTINE RESTREPO, Official and individual capacities, KELLI DALY RN, Official
and individual capacities, DIANA LOPUSNY MD, Official and individual capacities, ALLISON
PEARSON FNP, Official and individual capacities, PREFERRED PEDIATRICS, LLC.


COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, CIVIL CONSPIRACY


       Plaintiff, Theodora F. Antar (hereinafter "Plaintiff' or "Ms. Antar"), as a self-represented litigant,

brings this Complaint for fraud, civil conspiracy to commit fraud, abuse of process, civil violations of the

Federal Racketeer Influenced and Corrupt Organizations Act (18 U.S.C. § l964(c))("Federal RICO") as




9- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 10 of 98




well as multiple additional claims, both supplemental and original, of violations of plaintiff's rights by

way of Complaint against the above captioned Defendants for cause alleging and stating as follows:

                                             THE PARTIES

1. Plaintiff, Theodora Antar, both individually and as next friend and legal guardian of her minor children

.JV and A.L., is a resident of, and is domiciled in the State of Connecticut residing at 856 Shagbark Drive,

Orange, CT, 064 77.

2. Defendants are as follows:

    1. Defendant Honorable Jane Kupson Grossman, Official and individual capacities, is the Presiding

       Judge and AAJ for the Post-Judgment Family Division of the New Haven Superior Court located

       at 235 Church street, New Haven, CT, the former President of the Family Law Section of the New

       Haven County Bar Association, President of the Board of the Connecticut Women's Education

       and Legal Fund, former Presiding Judge for Criminal Matters for New Haven Superior Court at

        121 Elm St, New Haven, CT, former Magistrate Judge for New Haven, Bridgeport, and Waterbury

       CT, and is an adjunct professor at Quinnipiac University School of Law with an official address

       of 235 Church street, New Haven, CT, 06510.

    2. Defendant Judicial Branch for the State of Connecticut is state government office with a publicly

       listed address at 20 Park PL Vcmon,        06066.

    3. Defendant Town of Orange is a Town located in New Haven County, in the State of Connecticut

       with an official address of 617 Orange Center Rd, Orange, CT, 06477.

   4. Defendant Orange Department of Police Services is a police department located at 314 Lambert

       Rd, Orange, CT, 06477.

   5. Defendant City of New Britain is a City located in Hartford County, in the State of Connecticut

       with an official address of27 West Main st, New Britain, CT, 06051.


I 0- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 11 of 98




   6. Defendant Abdelghany Antar is a resident of and is domiciled in the State of Connecticut residing

      at 156 Wintonbury Ave B 112, Bloomfield, CT, 06002, and is the biological father of the plaintiff.

   7. Defendant Adam Rembisz, Official and indiv;dual capacities, is the Captain Criminal

      Investigations Division of the City of New Britain Police Department. The official address is 10

      Chestnut Street, New Britain, CT, 06051.

   8. Defendant Alexandra Warzocha, Official and individual capacities, is a resident of and is

      domiciled in the State of Connecticut and is legal assistant and an employee of Zingaro, Cretella,

      and Rasile LLC with an official address of 681 State St, New Haven, CT, 06510.

   9. Defendant Alexis Smith, Official and individual capacities, is a resident of and is domiciled in the

      State of Connecticut and is the Executive Director at New Haven Legal Assistance Association,

      Inc. with an official address of205 Orange Street, New Haven, CT, 06510.

   10. Defendant Allie Jacobs, Esq., Official and individual capacities, is a resident of and is domiciled

      in the State of Connecticut and is one of the Executive Committee Members of the New Haven

      County Bar Association. She is an alumnus of Quinnipiac University School of Law, a former

      Assistant Clerk in Family Matters at New Haven Superior Court for Honorable James G. Kenefick,

      Jr., and the Co-founder and co-chair of the New Haven County Bar Association LGBTQ

      Committee. She is employed at Jacobs & Jacobs Injury lawyers with an official address of One

      Audubon, 1 Audubon Suite 103, New Haven, CT, 06511.

   11. Defendant Amanda C. Nugent, Official and individual capacities, is a resident of and is domiciled

      in the State of Connecticut and is the President-elect Executive Committee Officer for the New

      Haven County Bar Association with an official address of 900 Chapel St #10, New Haven, CT,

      06510.

   12. Defendant Amanda Devan Nardozzi, Official and ;ndividual capacities, is a resident of and is


11- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1       Filed 10/12/23      Page 12 of 98




      domiciled in the State of Connecticut and is the Executive Director at Safe Haven of Greater

      Waterbury Inc. She is a member of the International Association of Chiefs of Police, former

      Commission Member of the Environmental Control Commission for the City of Waterbury,

      current Board of Director member for Jane Doe No More Inc., current Board of Director member

      for the Boys and Girls Club of Greater Waterbury, current corporator of Thomaston Savings Bank,

      Current Commissioner for the Board of Education for the City of Waterbury, former State of

      Connecticut Department of Corrections Correctional Officer, former patrol officer, detective,

      police sergeant, and detective sergeant for the Naugatuck Police Department, former director of

      the Police Recertification Program for Post University, current CT Post Certified Instructor for

      Police Officer Standards and Training, and former board member for the Connecticut Public

      Broadcasting Network. The official address is listed at 29 Central A venue, Waterbury, CT, 06702.

   13. Defendant Amber Doe, Official and individual capacities, is a resident of the state of Connecticut

      and is presumed to be a romantic partner of Defendant Matthew J. Lodice. Her address and true

      identity are unknown at this time.

   14. Defendant Sergeant Ameer Williams, #745 of the New Haven Police Department, Official and

      individual capacities, is an employee of the New Haven Police Department and City of New

      Haven. The official address is 1 Union Ave, New Haven, CT, 06510.

   15. Defendant Amina Connelly, Official and individual capacities, is the Deputy Chief Clerk for

      Family Matters for the New Haven Superior Court located at 235 Church st, New Haven, CT.

   16. Defendant Anastasia Ganim, Official and individual capacities, is a resident of the state of

      Connecticut and is the biological sister of the plaintiff. She is a state employee employed with

      Hamden Public Schools and sits as president on the executive board of the Peck Place PTO. The

      official address is 314 Demarest Drive, Orange, CT, 064 77.


12- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1      Filed 10/12/23      Page 13 of 98




   17. Defendant Andrew Knott, Official and individual capacities, is the President of the Executive

      Committee of The New Haven County Bar Association. The official address is 900 Chapel St #10,

      New Haven, CT, 06510.

   18. Defendant Andrew Marshall, Official and individual capacities, is a resident of the state of

      Connecticut. He is a PCA at Waterbury Hospital, an Emergency Medical Technician at Medtronic,

      and a former Emergency Medical Technician Supervisor at Naugatuck Ambulance. His official

      address is 28 Miller rd., Bethany, CT, 06524.

   19. Defendant Ann Denny, Official and individual capacities, is the administrative assistant for the

      First Selectman's office for the Town of Orange, CT. The official address is 617 Orange Center

      Rd, Orange, CT, 06477.

   20. Defendant Annamaria Baranowski, Official and individual capacities, is an employee of the State

      of Connecticut Judicial System Family Services Division at the New Haven Superior Court at 235

      Church St, New Haven, CT, 06510.

   21. Defendant Annisa Klapproth, ()fficial and individual capacities, is one of the Executive

      Committee Members of the New Haven County Bar Association, with an official address of 900

      Chapel St #10, New Haven, CT, 06510.

  22. Defendant Anthony Zuppardi, Official and individual capacities, is a resident of the state of

      Connecticut and is a volunteer firefighter/EMT for the North Farms Volunteer Fire Department

      Inc. with an official address of 95 North Ridgeland Road, Wallingford, CT, 06492.

  23. Defendant Clerks/Marshals Present at New Haven Superior Court on 4/8/22 6/1/22 6/28/22 4/5/23

      5/25/23 6/15/23 8/1/23 & 10/4/23 is any and all clerks and judicial marshals that were present at

      the New Haven Superior Court on the dates of 4/8/22, 6/1/22, 6/28/22, 4/5/23, 5/25/23, 6/15/23,

      8/1/23 and 10/4/23. The official address is 235 Church Street, New Haven, CT, 06510.


13- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1        Filed 10/12/23     Page 14 of 98




   24. Defendant Ashley Gray is a resident of the state of Connecticut and is domiciled in Connecticut

      and resides at 13 Plank rd., Prospect, CT, 06712

   25. Defendant Assistant Chief Max Maiiins, Official and individual capacities, is the Assistant Chief

      for the Orange Police Department for the Town of Orange in the State of Connecticut with an

      official address of 314 Lambert Rd, Orange, CT, 064 77.

   26. Defendant Assistant Clerk Dylan Wingard, Official and individual capacities, is the Assistant

      Clerk for the New Haven Superior Court with an official address of 235 Church Street, New

      Haven, CT, 06510.

   27. Defendant Assistant States Attorney Laura DeLeo, Official and individual capacities, is a state's

      attorney for the Derby GAS court in Derby, CT, with an official address of 106 Elizabeth Street,

      Derby, CT, 06418.

   28. Defendant States Attorney Margaret E. Kelley, Official and individual capacities, is a States

      Attorney for the State of Connecticut Ansonia-Milford Criminal Division and has an official

      address of 14 West River Street, Milford, CT, 06460.

   29. Defendant Office of the States Attorney Judicial District of Ansonia-Milford is a branch of the

      State of Com1ecticut Judicial System located at 14 West River Street, Milford, CT, 06460.

   30. Defendant Supervisory Assistant States Attorney Rebecca Barry, Official and individual

      capacities, is a state's attorney for the Derby GAS court in Derby, CT, with an official address of

      106 Elizabeth Street, Derby, CT, 063 20.

   31. Defendant Barbara Bellucci, Official and individual capacities, is the Family Violence Victim

      Advocate at the Derby Superior Court GAS for the Umbrella Center for Domestic Violence

      Services-A program of BHcare, with an official address of 106 Elizabeth Street, Derby, CT,

      06320.


14- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1       Filed 10/12/23      Page 15 of 98




   32. Defendant Basil R.A. Mahoney, Official and individual capacities, is a public member of the

      Judicial Review Council for the State of Connecticut, with an official address of 505 Hudson Street

      #5, Hartford, CT, 06106.

   33. Defendant Benjamin Abrams, Official and individual capacities, is the Assistant Attorney General

      at the Office of the Attorney General for the State of Connecticut, with an official address of 165

      Capitol Avenue, Hartford, CT, 06106.

   34. Defendant Benjamin Gettinger, Official and individual capacities, is an Executive Committee

      Officer for the New Haven County Bar Association, with an official address of 900 Chapel St #10,

      New Haven, CT, 06510.

   35. Defendant Betsy Keller, Official and individual capacities, is the founder of Connecticut

      Protective Morns, a 501(c) (3) non-profit organization registered in the State of Connecticut at

      2389 Main Street, Suite 100, Glastonbury, CT, 06033.

   36. Defendant BHcare Inc. is a non-profit 501 (c)(3) tax exempt organization m the State of

      Connecticut that identifies as a Certified Community Behavior Health Clinic. They cite their

      mission as being "to improve community health and quality of life of individuals by providing

      mental health, addiction, and domestic violence services. The official address is listed as 127

      Washington Avenue, North Haven, CT, 06473.

  37. Defendant BHcare Foundation Inc. is a non-profit 501(c)(3) tax exempt organization in the State

      of Connecticut that identifies as a Certified Community Behavior Health Clinic. They cite their

      mission as being "fundraising to provide support to BHcare, Inc. which is a 501(c)(3) organization

      whose mission is to improve community health and quality of life of individuals by providing

      mental health addiction and domestic violence services." The official address is listed as 127

      Washington Avenue, North Haven, CT, 06473.


15- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23       Page 16 of 98




   38. Defendant Blake Sullivan, Official and individual capacities, is the Assistant Attorney General at

      the Office of the Attorney General for the State of Connecticut, with an official address of 165

       Capitol Avenue, Hartford, CT, 06106.

   39. Defendant Brad Saxton, Official and individual capacities, is an Executive Committee Officer for

       the New Haven County Bar Association, with an official address of 900 Chapel St #10, New

       Haven, CT, 06510.

   40. Defendant Bruce Martin is a resident of the State of Connecticut and is domiciled at 14 Woodbury

       Court, Wolcott, CT, 06716.

   41. Defendant Bunny Village Learning Center LLC is a childcare center located at 41 Village Ln., Ste.

       101-103, Bethany, CT, 06454.

   42. Defendant Carla Smith Stover, Ph.D., Official and individual capacities, is a Professor and

      Licensed Clinical Psychologist employed at the Yale University Child Study Center at 230 S.

      Frontage Rd, New Haven, CT, 06520.

   43. Defendant Carrie Brickhouse, Director of Heavenly Gift LLC, Official and individual capacities,

      is the Director working at Heavenly Gift Childcare Center LLC at 14 Park Street# 106, Thomaston,

       CT, 06787.

   44. Defendant Casey Brinkman, Official and individual capacities, is an executive member of

      Connecticut Protective Moms and is a registered respiratory therapist at Yale New Haven Hospital

      with a listed address of 33 Madison Street, East Hartford, CT, 06118.

   45. Defendant Cat Itaya, Official and individual capacities, runs the Federal Pro Se Legal Assistance

      Program for New Haven Legal Assistance Association Inc, with an official address of205 Orange

      Street, New Haven, CT, 06510.

   46. Defendant Center for Children's Advocacy Inc. is a nonprofit law firm located in Connecticut


16- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23       Page 17 of 98




      which identifies themselves as "fight[ing] for the legal rights of Connecticut's most vulnerable

      children." They are a 501(c)(3) tax-exempt corporation that has a mission stated as being to

      "promote the legal rights and interests of poor children who are dependent for their care upon

      Connecticut's judicial, child welfare, health, mental health, education, and juvenile systems. They

      have an official address of 65 Elizabeth Street, Hartford, CT, 06105.

   47. Defendant Charles & Boni-Vendola, LLC is a law firm registered in the state of Connecticut with

      a registered address of 31 Broadway, N 01ih Haven, CT, 064 73.

   48. Defendant Chris R. Nelson, Official and individual capacities, is an executive committee member

      of the New Haven County Bar Association, with an official address of 900 Chapel St #10, New

      Haven, CT, 06510.

   49. Defendant Christina Doe, Official and individual capacities, is a clerk from the New Haven

       Superior Court Clerk's Office at 235 Church st, New Haven, CT, 06510.

   50. Defendant Christopher Ganim is the brother-in-law of the plaintiff and is a resident of the Town

      of Orange in New Haven County in the State of Connecticut with an address of 314 Demarest

      Drive, Orange, CT, 06477.

   51. Defendant Christopher Katagis is the son of the Defendant Diamanto Antonellis and a resident of

      the State of Connecticut residing at 21 Burma road, Woodbridge, CT, 06525.

   52. Defendant City ofN ew Haven is a City located in the State of Connecticut, with an official address

      of 165 Church Street, New Haven, CT, 06510.

   53. Defendant City of Waterbury is a City located in the State of Connecticut, with an official address

      of 235 Grand Street, Waterbury, CT, 06702.

   54. Defendant Supervisory Assistant State's Attorney Colleen V. Zingaro, Official and individual

      capacities, is the Supervisory Assistant State's Attorney for Violent Crimes/Special Victims Unit,


17- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 18 of 98




      with an official address of 1061 Main street, Fairfield, CT, 06604.

   55. Defendant Connecticut Alliance to End Sexual Violence Inc. is a nonprofit 501(c)(3) tax exempt

      corporation organized in the State of Connecticut with a registered address of 96 Pitkin Street, East

      Hartford, CT, 06108.

   56. Defendant Association of Court Security Officers-Connecticut is a nonprofit 501 (c)(3) tax exempt

      corporation organized in the state of Connecticut with an official address of 141 Church Street,

      New Haven, CT, 06510.

   57. Defendant Connecticut Coalition Against Domestic Violence is a nonprofit 501(c)(3) tax exempt

      corporation organized in the state of Connecticut with an official address of 655 Winding Brook

      Drive, Suite 4050, Glastonbury, CT, 06033.

   58. Defendant Connecticut Department of Public Safety is a branch of the State of Connecticut, with

      an official address at Washington Building, Middletown, CT, 06457.

   59. Defendant Access Health International Inc is a 50l(c)(3) tax exempt corporation organized in the

      State of New York that administers the State of Connecticut Husky Health program and acts as a

      branch of the State of Connecticut Depaiiment of Social Services. The official address is 1016

      Fifth Avenue No 1 lA C, New York, NY, 10028.

   60. Defendant Jeffrey S. Lehman is on the board of directors for Access Health International Inc, with

      an official address is 1016 Fifth Avenue No 1 lA C, New York, NY, 10028.

   61. Defendant Connecticut Judicial Branch Centralized ADA Office is a branch of the State of

      Connecticut Judicial System, with an official address of 90 Washington Street, Hartford, CT,

      06106.

   62. Defendant Connecticut Judicial Review Council is a self-governing administrative body in the

      State of Connecticut, with an official address of 505 Hudson St, #5, Hartford, CT, 06106.


18- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 19 of 98




   63. Defendant Connecticut Department of Emergency Services and Public Protection is a branch of

      the state of Connecticut, with an official address at Washington Building, Middletown, CT, 06457.

   64. Defendant Connecticut Legal Services Inc. is a non-profit 50l(c)(3) tax exempt corporation that

      acts as a legal aid agency in the State of Connecticut, with an official address of 62 Washington

       Street, 4th Floor, Middletown, CT, 06457.

   65. Defendant Connecticut Office of Victim Advocate is an administrative branch of the State of

      Connecticut with an office address of 505 Hudson Street, Hartford, CT, 06106.

   66. Defendant Connecticut Office of Victim Services is an oversight agency that is an administrative

      office in the State of Connecticut, with an office address of 225 Spring Street, 4th Floor,

      Wethersfield, CT, 06109.

   67. Defendant Connecticut Protective Moms Inc. is a 501(c)(3) non-profit organization located in the

       State of Connecticut at 2389 Main Street, Suite 100, Glastonbury, CT, 06033.

   68. Defendant Connecticut State Child Support Enforcement Services is an administrative agency that

      is under the Connecticut Department of Social Services with an office address of P.O. Box 990036,

      Hartford, CT, 06199-0036.

   69. Defendant Connecticut State Department of Children and Families is an administrative agency for

      the State of Connecticut and is a child protection agency with an office address of 506 Hudson

      Street, Hmiford, CT, 06106.

   70. Defendant Connecticut State Department of Social Services is a welfare benefit agency for the

      State of Connecticut, located at 3580 main street, Hartford, CT, 06120.

   71. Defendant Connecticut State Division of Criminal Justice is a division of the criminal sector of the

      State of Connecticut Judicial Branch, located at 300 Corporate Place, Rocky Hill, Connecticut,

      06067.


19- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1       Filed 10/12/23     Page 20 of 98




   72. Defendant Connecticut State Police Troop I Bethany is a branch of the Connecticut State Police

      for the State of Connecticut, located at 631 Amity Rd, Bethany, CT, 06524.

   73. Defendant Connecticut Women's Education and Legal Fund is a non-profit organization located

      in the State of Connecticut with an address of PO Box 320460, Hartford, CT, 06132.

   74. Defendant Conor Duffy, Official and individual capacities, is a member of the Executive

      Committee of the New Haven County Bar Association. The registered address is listed as 900

      Chapel St #10, New Haven, CT, 06510.

   75. Defendant Cris Doe, Official and individual capacities, is a phone operator for Safe Haven of

      Waterbury Inc. and covers the 24/7 hotline. The address is listed as 29 Central Ave, Waterbury,

      CT, 06702.

   76. Defendant Magistrate Cynthia Anger, Official and individual capacities, is a small claims

      magistrate for the Ansonia-Milford JD handling small claims matters in Milford Superior Court,

      with an address of 14 West River street, Milford, CT, 06460.

   77. Defendant Daniel Burns, Official and individual capacities, is a member of the New Haven Legal

      Assistance Association, Inc. with an official address of205 Orange Street, New Haven, CT, 06510.

   78. Defendant Lisa Zappone, Official and individual capacities, is an employee of the Family

      Relations Division for the Family branch of the New Haven Superior Court at 235 Church st, New

      Haven, CT, 06510.

   79. Defendant Dennis Reilly, Official and individual capacities, is an employee of the Family

      Relations Division for the Family branch of the New Haven Superior Court at 235 Church st, New

      Haven, CT, 06510.

   80. Defendant Diamanto Antonellis Official and individual capacities is the biological mother of the

      defendants Christopher Katagis, Irene Antar, and Anastasia Ganim as well as of the plaintiff. Her


20- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23     Page 21 of 98




      address is 21 Burma Road, Woodbridge, CT, 06525.

   81. Defendant Dispatcher Whitham #206 of OPD, Official and individual capacities, is a dispatcher

      employed with the Town of Orange Police Department, with an official address of 314 Lambert

      Rd, Orange, CT, 06477.

   82. Defendant Donald Cretella, Esq., Official and individual capacities, is an attorney at Zingaro,

      Cretella, and Rasile LLC and an adjunct professor at Quinnipiac University School of Law, with

      an official address of 681 State Street, New Haven, CT, 06511

   83. Defendant Donna Dicosmo, Official and individual capacities, is a business partner and investor

      in the Defendant Whole House Remodeling Company LLC and of the Defendant Matthew J.

      Lodice and resides at 55 Quarry Hill road, Waterbury, CT, 06706.

   84. Defendant Dr. Anthony Campagna, Official and individual capacitie, 1s a mental health

      professional who regularly conducts business with the State of Connecticut Judicial Branch, with

      a listed address of 1844 Whitney Ave, 2nd Floor, Hamden, CT, 06517.

   85. Defendant Dr. Eric Frazer, Official and individual capacities, is a mental health professional who

      regularly conducts business with the State of Connecticut Judicial Branch. He is an employee of

      Yale School of Medicine with an address as 333 Cedar Street, New Haven, CT, 06510.

   86. Defendant Dr. Kimberly Citron, PH.D., Official and individual capacities, is a mental health

      professional who regularly conducts business with the State of Connecticut Judicial Branch. Her

      listed address is 396 Main Street, Cheshire, CT, 06410.

   87. Defendant Dr. Robert Horowitz, Official and individual capacities, is a mental health professional

      who regularly conducts business with the State of Connecticut Judicial Branch and a board

      member of the Connecticut Council for Non-adversarial Divorce located at 258 Bradley Street,

      New Haven, CT, 06510.


21- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS          Document 1       Filed 10/12/23     Page 22 of 98




   88. Defendant Dr. Wendy Levy PsyD, is a mental health professional who regularly conducts business

      with the State of Connecticut Judicial Branch with an address at 1465 Post Road East, in Westpo1i,

      CT, 06880.

   89. Defendant Officer E. Aviles of New Haven Police Department Badge # 263, Official and

      individual capacities, is a police officer for the New Haven Police Department and employee of

      the City of New Haven, Connecticut at 1 Union Avenue, New Haven, CT, 06511.

   90. Defendant Elizabeth Protzman, Official and individual capacities, is the Director of

       Communications and Nonprofit development at Onyx Elite Consulting Services, the Director of

       Communications at Winning Ways, Inc. of Connecticut, and a Business Consultant for Smith PR

       Company located at 279 North Main street, Branford, CT, 06405.

   91. Defendant Elwyn Brewster Quirk, Official and individual capacities, is a member of the Executive

      Committee of the New Haven County Bar Association, with an address of 900 Chapel St #10,

      New Haven, CT, 06510.

   92. Defendant Erin Krygier, Official and individual capacities, is the caseflow coordinator assigned

      to the New Haven Superior Court at 235 Church street, New Haven, CT handling family caseflow

      requests with an address of235 Church street, New Haven, CT, 06510.

   93. Defendant Eugene Zingaro, Esq. is the partner of Donald Cretella, Esq. at Zingaro, Cretella, and

      Rasile LLC, with a registered address of 681 State Street, New Haven, CT, 06511.

   94. Defendant Gabriel Mina is a sub-contractor employed by Whole House Remodeling Company

      LLC working under the supervision and direction of Defendant Matthew J. Lodice, with an address

      at 57 Westp01i drive, Waterbury, CT, 06706.

   95. Defendant Ganim Legal LLC is a law firm located at 2370 Park Ave, Bridgeport, CT, 06604.

   96. Defendant Gerald Viglione Jr. is the father of plaintiff's minor daughter J.V. and resides at 118


22- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23     Page 23 of 98




      Irvington st, New Haven, CT, 06513.

   97. Defendant Gina Killian, Official and individual capacities, is a clerk at the New Haven Superior

      Comi clerks office located at 235 Church st, New Haven, CT, 06510.

   98. Defendant Governor Ned Lamont, Official and individual capacities, is the Governor of the State

      of Connecticut, with an address at 210 Capital Ave, Hatiford, CT, 06106.

   99. Defendant Gregory Gallo, Esq., is a partner at Pellegrino & Pellegrino LLC and an attorney in the

      State of Connecticut. He is also the ex-brother-in-law and former landlord/business patiner of the

      Defendant Matthew Lodice and has contracted several jobs through defendant Whole House

      Remodeling LLC with an address at 475 Whitney Ave, New Haven, CT, 06511.

   100.        Defendant Happy Even After Family Law LLC is a family law firm located at 2531

      Whitney Ave, Hamden, CT, 06518.

   101.        Defendant Healing Springs Wellness Center LLC is a mental health treatment provider

      located at 1006 S. Main St, suite 4, Plantsville, CT, 06479.

   102.        Defendant Heather Collins, Official and individual capacities, is the Court Planner II for

      the Centralized ADA Office for the State of Connecticut with an office at 90 Washington Street,

      3 rd floor, Hartford, CT.

   103.        Defendant Heavenly Gift Childcare Center LLC is a childcare center located at 14 Park st,

      # 106, Thomaston, CT.

   104.        Defendant Honorable Arthur Hiller, Official and individual capacities, is a judge employed

      by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD at 14 West River st,

      Milford, CT, 06460.

   105.        Defendant Honorable Cherie Phoenix-Sharpe, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD, at 14


23- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23      Page 24 of 98




      West River st, Milford, CT, 06460.

   106.        Defendant Honorable Christine P. Rapillo, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the New Britain JD ,at 20 Franklin

      Square, New Britain, CT, 06053.

   107.        Defendant Honorable Christopher Griffin, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the New Haven JD at 235 Church

      street, New Haven, CT, 06511.

   108.        Defendant Honorable Dawne G. Westbrook, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch at 14 West River st, Milford, CT, 06460.

   109.        Defendant Honorable Edward Graziani, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch at 14 West River st, Milford, CT, 06460.

   110.        Defendant Honorable Erika Monique Tindill, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD at at 14

      West River st, Milford, CT, 06460.

   111.        Defendant Honorable James Abrams, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch at 14 West River st, Milford, CT, 06460.

   112.        Defendant Honorable James Kenefick, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch at 235 Church street, New Haven, CT,

      06510.

   113.        Defendant Honorable Jon M. Alander, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the New Haven JD at 235 Church

      street, New Haven, CT, 06510.

   114.        Defendant Honorable Kevin Randolph, Official and individual capacities, is a judge


24- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23     Page 25 of 98




      employed by the State of Connecticut Judicial Branch at 235 Church street, New Haven, CT,

      06510.

   115.        Defendant Honorable Margarita H. Moore, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD at 14

      West River street, Milford, CT, 06460.

   116.        Defendant Honorable Mark T. Gould, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the New Haven JD at 235 Church

      street, New Haven, CT, 06510.

   117.        Defendant Honorable Matthew P. Vaccarelli, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch in the probate district of Waterbury,

      Connecticut with an address at 65 Center street, Waterbury, CT, 06702.

   118.        Defendant Honorable Maureen Price-Boreland, Official and individual capacities, is a

      judge employed by the State of Connecticut Judicial Branch who is in the Meriden JD at 54 West

      Main street, Meriden, CT, 06451.

   119.        Defendant Honorable Michael Kamp, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch who is in the New Haven JD at 235 Church

      street, New Haven, CT, 06510.

   120.        Defendant Honorable Peter Brown, Official and individual capacities, is a judge employed

      by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD at 14 West River

      street, Milford, CT, 06460.

   121.        Defendant Honorable Scott Jones, Official and individual capacities, is a judge employed

      by the State of Connecticut Judicial Branch who is in the Ansonia-Milford JD at 14 West River

      street, Milford, CT, 06460.


25- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23     Page 26 of 98




   122.        Defendant Honorable Tammy Geathers, Official and individual capacities, is a judge

      employed by the State of Connecticut Judicial Branch at 14 West River street, Milford, CT, 06460.

   123.        Defendant Howard Levine, Official and individual capacities, is a member of the executive

      committee of the New Haven County Bar Association, with an address of 900 Chapel St #10,

      New Haven, CT, 06510.

   124.        Defendant Irene Antar, O.D. , Official and individual capacities, is an optometrist

      domiciled in the state of Connecticut living at 21 Burma rd., Woodbridge, CT, 06525.

   125.        Defendant James Henke, Official and individual capacities, is a member of the executive

      committee of the New Haven County Bar Association, with an address of 900 Chapel St #10,

      New Haven, CT, 06510.

   126.        Defendant James Lambo, Official and individual capacities, is a former employee of the

      Connecticut Department of Correction and former customer of Defendant Whole House

      Remodeling Company LLC and best friend of Defendant Matthew Lodice with an address of 54

      Joy Road, Middlebury, CT, 06762.

   127.        Defendant James Zeoli, Official and individual capacities, is the First Selectman for the

      Town of Orange, with an address of 61 7 Orange Center Rd, Orange, CT, 064 77.

   128.        Defendant Jamie Hobart Lambo, Official and individual capacities, is a state marshal for

      the State of Connecticut, a former Waterbury Police Department officer, former C01mecticut Joint

      Public Safety and Security Committee Clerk, former Committee Clerk for the State of Connecticut

      Senate Democrats, and is the husband of the best friend of Defendant Matthew J. Lodice, with an

      address of 46 Pine street, Watertown, CT, 06795.

   129.        Defendant Jane Adamik, Official and individual capacities, is a Child Advocate at the

      Umbrella Center for Domestic Violence Services of BHcare.


26- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1        Filed 10/12/23      Page 27 of 98




   130.        HON. JON M. ALANDER, Official and individual capacities, OFFICER MORT ALLI OF

      THE HAMDEN POLICE DEPARTMENT, Official and individual capacities, SEVERAL

      OTHER JANE DOE AND JOHN DOE OFFICERS FROM THE HAMDEN POLICE

      DEPARTMENT, Official and individual capacities,

   131.        Defendant Janet Ortiz, Official and individual capacities, is the office manager for the

      Center for Children's Advocacy.

   132.        Defendant Magistrate Judge Jennifer Aguilar, Official and individual capacities, 1s a

      magistrate judge working for the State of Connecticut Judicial System.

   133.        Defendant Jennifer Gallo Lodice is the sister-in-law of Defendant Matthew J. Lodice and

      the sister of Defendant Greg Gallo.

   134.        Defendant Jessica Mayo, Ph.D, Official and individual capacities, is the Assistant

      Professor of Clinical Child Psychology and Licensed Psychologist at the Yale Child Study Center.

   135.        Defendant Jessica Strusky, Official and individual capacities, is the daughter of Defendants

      Karen Bowers and Roy Bowers and a resident of Connecticut residing at 100 Salem Rd, Prospect,

      CT. She is also an optometric assistant at Dr. Deluca Dr. Marciano and Associates in Prospect,

      Connecticut.

   136.        Defendant Jia Luo, Official and individual capacities, is a member of the Judicial Review

      Council for the State of Connecticut.

   137.        Defendant Joaquina Borges King, Esq., Official and individual capacities, is an attorney

      licensed to practice law in the State of Connecticut and a member of the Judicial Review Council.

   138.        Defendant John Parese, Official and individual capacities, is a member of the executive

      committee of the New Haven County Bar Association.

   139.        Defendant Joseph DeCicco, Esq., Official and individual capacities, is an attorney licensed


27- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS         Document 1        Filed 10/12/23      Page 28 of 98




      to practice law in the state of Connecticut and was appointed as the court-appointed counsel for

      plaintiffs minor child A.L. for a termination of parental rights proceeding against the Defendant

      Matthew J. Lodice.

   140.        Defendant Joseph M. Porto, Official and individual capacities, 1s a member of the

      executive committee of the New Haven County Bar Association.

   141.        Defendant Joseph Merschman, Official and individual capacities, is a member of the

      executive committee of the New Haven County Bar Association.

   142.        Defendant Josh Lambo, Official and individual capacities, is the Godfather of the minor

      child A.L. and the best friend of the Defendant Matthew J. Lodice and the husband of Defendant

      Jamie Hobart Lambo and the brother of Defendant James Lambo. He is also an employee of the

      State of Connecticut Department of Corrections employed as a Correctional Officer.

   143.        Defendant Judicial Marshal Andrews, New Haven Superior Court, Official and individual

      capacities, is a judicial marshal employed by the State of Connecticut working at 235 Church

      street, New Haven, CT.

   144.        Defendant Judicial Marshal Hayden, Badge #567 of the New Haven Superior Court,

      Official and individual capacities, is a judicial marshal employed by the State of Connecticut

      working at 235 Church street, New Haven, CT.

   145.        Defendant Judicial Marshal Runlett, New Haven Superior Court, Official and individual

      capacities, is a judicial marshal employed by the State of Connecticut working at 235 Church

      street, New Haven, CT.

   146.        Defendant Justin Attai, Official and individual capacities, is a legal assistant and employee

      of Ganim Legal, LLC.

   147.        Defendant Karen Bowers, Official and individual capacities, is the biological mother of


28- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23      Page 29 of 98




      the Defendant Matthew J. Lodice and resides at 48 Quarry Hill rd., Waterbury, CT, 06706.

   148.        Defendant Katherine Verano, Official and individual capacities, is the CEO of Safe

      Futures, Inc. and is also a public member of the State of Connecticut Judicial Review Council, at

      505 Hudson street, #5, Hartford, CT, 06106.

   149.        Defendant Safe Futures Inc. is a non-profit organization registered in the State of

      Connecticut at 16 Jay Street, New London, CT, that receives contracts from the State of

      Connecticut Department of Social Services. Located atl 6 Jay Street, New London, CT, 06320.

   150.        Defendant Kevin Dunn, Esq., Official and individual capacities, is the Executive Director

      of the Judicial Review Council for the State of Connecticut, at 505 Hudson street, #5, Hartford,

      CT, 06106.

   151.        Defendant Klingberg Family Center, Inc. is located at 370 Linwood street, #1949, New

      Britain, CT, 06052.

   152.        JOHN CARANGELO, Official and individual capacities, 617 Orange Center Rd, Orange,

      CT, 06477.

   153.        PJ SHANLEY, Official and individual capacities, 617 Orange Center Rd, Orange, CT,

      06477.

   154.        MITCHELL R. GOLDBLATT, Official and individual capacities, 617 Orange Center Rd,

      Orange, CT, 06477.

   155.        RALPH OKENQUIST, Official and individual capacities, 617 Orange Center Rd, Orange,

      CT, 06477.

   156.        JUDY W. WILLIAMS, Official and individual capacities, 617 Orange Center Rd, Orange,

      CT, 06477.

   157.        TOWN OF ORANGE CONNECTICUT BOARD OF SELECTMEN, 617 Orange Center


29- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS         Document 1       Filed 10/12/23      Page 30 of 98




      Rd, Orange, CT, 06477.

   158.        TOWN OF ORANGE BOARD OF POLICE COMMISSIONERS, 617 Orange Center Rd,

      Orange, CT, 06477.

   159.        TOWN OF ORANGE BOARD OF POLICE COMMISSIONER CHAIRMAN JACK

      BARTON, Official and individual capacities, 617 Orange Center Rd, Orange, CT, 06477.

   160.        MARIAN HURLEY, Official and individual capacities, 617 Orange Center Rd, Orange,

      CT, 06477.

   161.        ROY CUZZOCREO, Official and individual capacities, 617 Orange Center Rd, Orange,

      CT, 06477.

   162.        NY JAHWAHN WAL KER, Official and individual capacities, 617 Orange Center Rd,

      Orange, CT, 06477.

   163.        CHRISTOPHER CARVETH, Official and individual capacities, 617 Orange Center Rd,

      Orange, CT, 064 77.

   164.        Defendant Kristianna Tyler, Official and individual capacities, 617 Orange Center Rd,

      Orange, CT, 06477.

   165.        Defendant Kristin Wolf, is a member of the executive committee of the New Haven County

      Bar Association with an address of 900 Chapel St #10, New Haven, CT, 06510.

   166.        Defendant Lancia Blatchley, Official and individual capacities, is a mental health treatment

      provider employed at Healing Springs Wellness LLC and a resident of the state of Connecticut.

      She is also the Domestic Violence Program Coordinator for LifeBridge Community Services, with

      an adderss of 1006 South Main st, Suite 4, Plantsville, CT, 06479.

   167.        Defendant Larae Plummer, Official and individual capacities, is a social worker working

      for the Depa1iment of Children and Families Milford Office, at 38 Welligton rd, Milford, CT,


30- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1        Filed 10/12/23     Page 31 of 98




      06460.

   168.        Defendant Leonard Rodriguez, Official and individual capacities, is an executive

      committee member for the New Haven County Bar Association, with an address of 900 Chapel

      St #10, New Haven, CT, 06510.

   169.        Defendant Lieutenant Anderson of the Orange Police Department, Official and individual

      capacities, is a lieutenant employed at the Orange Police Depaiiment located at 314 Lambert road,

      Orange, CT, 06477.

   170.        Defendant Lieutenant Benjamin Borelli of the Connecticut State Police Troop I in Bethany,

      Official and individual capacities, is a lieutenant employed with the Connecticut State Police

      Troop I of Bethany, CT, 06524.

   171.        Defendant Lieutenant DeRubeis of the Orange Police Department, Official and individual

      capacities, is a lieutenant employed with the Orange Police Department., with an official address

      of314 Lambert Rd, Orange, CT, 06477.

   172.        Defendant Lieutenant John Prisavage of the New Britain Police Department, Official and

      individual capacities, is a lieutenant employed with the New Britain Police Department. Located

      at 10 Chestnut Street, New Britain, CT, 06051.

   173.        Defendant Lieutenant Judicial Marshal Dadio, Badge # 113 of the New Haven Superior

      Court, Official and individual capacities, is a judicial marshal employed with the New Haven

      Superior Court at 235 Church st, New Haven, CT, 06510.

   174.        Defendant Lisa B. Giliberto, Esq., Official and individual capacUies, is the former counsel

      of the Defendant Elizabeth Protzman, an employee of The Victim Rights Center of Connecticut

      Team, and the Children's Law Center of Connecticut with an address of 8 Research Parkway,

      Wallingford, CT, 06492.


31- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23        Page 32 of 98




   175.        Defendant Detective Lisa R. Steeves of the New Britain Police Department, Official and

      individual capacities, located at 10 Chestnut Street, New Britain, CT, 06051.

   176.        Defendant Lizzy Cretella, Official and individual capacities,

   177.        Defendant Mayor Joe Ganim, Official and individual capacities,

   178.        Defendant Lori Doe, Clerk from New Haven Superior Court, Official and individual

      capacities, at 23 5 Church st, New Haven, CT, 06510

   179.        Defendant Lori Semrau, Esq., Official and individual capacities, is located at 14 West

      River st, Milford, CT, 06460.

   180.        Defendant Louis A. Annecchino, Official and individual capacities,

   181.        Defendant Luz Santana, Official and individual capacities,

   182.        Defendant Lynda Sorensen, Official and individual capacities,

   183.        Defendant Makana Ellis, Official and individual capacities,

   184.        Defendant Maressa Latoracca, Official and individual capacities,

   185.        Defendant Margaret Penny Mason, Official and individual capacities,

   186.        Defendant Margot Kenefick Burkle, Esq., Official and individual capacities,

   187.        Defendant Mark D. Phillips, Esq., Official and individual capacities,

   188.        Defendant Mark Wachter

   189.        Defendant Martha Weiler, Esq, Official and individual capacities,

   190.        Defendant Mary Kozicki, Official and individual capacities,

   191.        Defendant Mary-Ann Charles, Esq., Official and individual capacities,

   192.        Defendant Matthew J. Lodice, Official and individual capacities,

   193.        Defendant Matthew J. Lodice, on behalf of his minor child D.L., Official and individual

      capacities,


32- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23       Page 33 of 98




   194.        Defendant Matthew J. Lodice, on behalf of his minor child S.L., Official and individual

      capacities,

   195.        Defendant Maura Mastrony, Official and individual capacities,

   196.        Defendant Meghan C. McGrath, Official and individual capacities,

   197.        Defendant Melissa Swan, Official and individual capacities,

   198.        Defendant Meredith McGloin, Official and individual capacities,

   199.        Defendant Merit Lajoie, Official and individual capacities,

   200.        Defendant Michael Hillis, Esq, Official and individual capacities,

   201.        Defendant Michelle M. Murphy Official and individual capacities,

   202.        Defendant Milford Superior Court Clerk Laura, Official and individual capacities, is a

      clerk employed at the Milford Superior Court at 14 West River st, Milford, CT.

   203.        Defendant Monica Cloud Rogers, Official and individual capacities,

   204.        Defendant Monica Perez, Official and individual capacities,

   205.        Defendant Nancy Doe, Clerk from New Haven Superior Court, Official and individual

      capacities,

   206.        Defendant Nancy Sasser, Official and individual capacities,

   207.        Defendant Nancy Valentino, Official and individual capacities,

   208.        Defendant Natalie Caban, Official and individual capacities,

   209.        Defendant New Britain Police Department, Located at 10 Chestnut Street, New Britain,

      CT, 06051.

   210.        Defendant New Haven Child Support Enforcement Services

   211.        Defendant New Haven County Bar Association

   212.        Defendant New Haven Legal Assistance Association Inc.


33- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23     Page 34 of 98




   213.        Defendant New Haven Police Depaiiment is a police department located at 1 Union Ave,

      New Haven, CT, 06511.

   214.        Defendant Nicole Tung, Official and individual capacities,

   215.        Defendant Numerous Jane Doe and John Doe Dispatch and police officers from

      Connecticut State Police Troop I in Bethany, CT, located at 631 Amity Rd, Bethany, CT, 06524.

   216.        Defendant Numerous Jane Doe and John Doe Dispatch and police officers from The New

      Britain Police Department, located at 10 Chestnut street, New Britain, CT, 06051.

   217.        Defendant Numerous Jane Doe and John Doe Dispatch and police officers from The

      Orange Department, with an official address of 314 Lambert Rd, Orange, CT, 064 77.

   218.        Defendant Office of Victim Compensation

   219.        Defendant Office of Victim Services Training

   220.        Defendant Officer Aliza Esposito of the Orange Police Department, with an official address

      of 314 Lambert Rd, Orange, CT, 06477.

   221.        Defendant Officer Andrew Satkowski of the Orange Police Department, with an official

      address of 314 Lambe ii Rd, Orange, CT, 064 77.

   222.        Defendant Officer Artabane of the Orange Police Department, with an official address of

      314 Lambert Rd, Orange, CT, 06477.

   223.        Defendant Officer Bailey of the Orange Police Department, with an official address of 314

      Lambert Rd, Orange, CT, 06477.

   224.        Defendant Officer Jeffrey Fernandes of the Orange Police Department, Official and

      individual capacities, with an official address of 314 Lambert Rd, Orange, CT, 064 77.

   225.        Defendant Officer John Lane of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambert Rd, Orange, CT, 06477.


34- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23     Page 35 of 98




   226.        Defendant Officer Justiano Nieves of the New Haven Police Department Badge # 22,

      Official and individual capacities, located at 1 Union Ave, New Haven CT, 06510.

   227.        Defendant Officer Kuti Correia #132 of the Orange Police Depaiiment, Official and

      individual capacities, with an official address of 314 Lambe1i Rd, Orange, CT, 06477.

   228.        Defendant Officer Padro of the Waterbury Police Department, Official and individual

      capacities, located at 255 East Main Street, Waterbury, CT, 06706.

   229.        Defendant Officer Piscitelli of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambert Rd, Orange, CT, 06477.

   230.        Defendant Officer Repice of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambeti Rd, Orange, CT, 064 77.

   231.        Defendant Officer Ristiano of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambert Rd, Orange, CT, 06477.

   232.        Defendant Officer J. Seeger of the Waterbury Police Department, Official and individual

      capacities, located at 255 East Main Street, Waterbury, CT, 06706.

   233.        Defendant Officer Taylor of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambert Rd, Orange, CT, 06477.

   234.        Defendant Officer Yelenik of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambe1i Rd, Orange, CT, 064 77.

   235.        Defendant Dean Paul Chill, Official and individual capacities, located at 55 Elizabeth

      Street, Hartford, CT, 06105.

   236.        Defendant Bruce Freedman, Official and individual capacities

   237.        Defendant Paul Ganim, Official and individual capacities,

   238.        Defendant Paul Lodice Jr. is the biological son of Defendants Paul Lodice Sr. and Karen


35- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1        Filed 10/12/23     Page 36 of 98




      Bowers and the brother-in-law of Defendant Greg Gallo and the ex-husband of the Defendant

      Jennifer Gallo Lodice. He is also the brother of Defendants Matthew J. Lodice and Scott Lodice.

   239.        Defendant Paul Lodice Sr., Official and individual capacities, is the father of defendant

      Lodice and former firefighter for the Monroe Fire Depaiiment with an address of 9 Lazy Brook

      road, Shelton, CT, 06484.

   240.        Defendant Preferred Pediatrics LLC is a pediatrician office located at 88 Noble Ave, #101,

      Milford, CT, 06460.

   241.        Defendant Valentine Restrepo, Official and individual capacities, is an employee of

      Preferred Pediatrics LLC, located at 88 Noble Ave, #101, Milford, CT, 06460.

   242.        KELLI DALY RN, Official and individual capacities, DIANA LOPUSNY MD, Official and

      individual capacities, ALLISON PEARSON FNP, Qfficial and individual capacities,

   243.        Defendant Quinnipiac University is a private undergraduate university in the state of

      Connecticut located at 275 Mount Carmel Ave, Hamden, CT, 06518.

   244.        Defendant Quinnipiac University School of Law is a private law school in the state of

      Co1mecticut located at 370 Bassett Rd, North. Haven, CT, 06473.

   245.        Defendant Rachel Reeves, Official and individual capacities, is the Director of Field

      Placement and Pro Bono Programs and Assistant Clinical Professor of Law at the University of

      Connecticut School of Law with a listed address of 55 Elizabeth street, Haiiford, CT, 06105.

   246.        Defendant Randi Calabrese, Esq., Official and individual capacities, is a member attorney

      at the Connecticut Bar Association with a listed address of 126 Bradley Rd, Ste. 1, Madison, CT,

      06443.

   247.        Defendant Raneil Smith, Esq., Official and individual capacities, is an employee at Miller,

      Rosnick, D' Amico, August, & Butler PC with an address of 1087 Broad Street, Bridgeport, CT,


36- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23     Page 37 of 98




      06604.

   248.        Defendant Rape Crisis Center of Milford Inc. is an organization located at 70 West River

      street, Milford, CT, 06460.

   249.        Defendant Renee Casey MD, Official and individual capacities, is a pediatrician located at

      88 Noble Ave, #101, Milford, CT, 06460.

   250.        Defendant Renew Your Mind LLC is a mental health service provider with an address at

      21 WW. Main Street, 4 th Floor, Waterbury, CT, 06702.

   251.        Defendant Isamel Bodden, Administrative Associate II, of the Waterbury Police

      Department, Official and individual capacities, is located at 255 East Main street, Waterbury, CT,

      06706.

   252.        Defendant Connecticut State House Representative Mary Welander, Official and

      individual capacities, located at Legislative Office Building Room 4000, Hartford, CT, 06106-

      1591.

   253.        Defendant Chief of Police of the Orange Police Department Robert J. Gagne, Official and

      individual capacities, with an official address of 314 Lambert Rd, Orange, CT, 064 77.

   254.        Defendant Robert McConnell, Official and individual capacities, is a social worker for the

      Waterbury Department of Children and Families located at 395 West Main Street, Waterbury, CT,

      06702.

   255.        Defendant Roy Bowers, Official and individual capacities, is located at 48 Quarry Hill Rd,

      Waterbury, CT, 06706.

   256.        Defendant Safe Haven of Greater Waterbury Inc. is a non-profit organization m

      Connecticut with an address is listed as 29 Central Ave, Waterbury, CT, 06702.

   257.        Defendant Sandra Lugo Gines, Official and individual capacities, is the Chair of the


37- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1        Filed 10/12/23       Page 38 of 98




      Americans with Disabilities Committee of the Connecticut Judicial Branch with an address of 90

      Washington Street, Haiiford, CT, 06106.

   258.        Defendant Sarah Hanna, Official and individual capacities, is an appellate clerk working

      at the Connecticut Appellate Court Clerk's Office with an address of 231 Capitol Avenue,

      Hartford, CT, 06106.

   259.        Defendant Scott Lodice, Official and individual capacities, is a resident of Connecticut

      located at 59 Cliff street, 2nd floor, Shelton, CT, 06484.

   260.        Defendant Scott Lodice, on behalf of his minor child T.L., Official and individual

      capacities, located at 59 Cliff street, 2nd floor, Shelton, CT, 06484.

   261.        Defendant Sean McElligott, Official and individual capacities, is an executive member of

      the New Haven County Bar Association with an address of 900 Chapel St #10, New Haven, CT,

      06510.

   262.        Defendant Connecticut State Senator James Maroney, Official and individual capacities,

      located at 22 Saranac Road, Milford, CT, 06460.

   263.        Defendant Sergeant Bartley of the Orange Police Department, Official and individual

      capacities, with an official address of 314 Lambert Rd, Orange, CT, 064 77.

   264.        Defendant Sergeant Jared Barselau of the New Britain Police Department, Official and

      individual capacities, located at 10 Chestnut street, New Britain, CT, 06051.

   265.        Defendant Sergeant Joel Portorreal of the Connecticut State Police Troop I in Bethany, CT,

      Official and individual capacities, with an address of 631 Amity road, Bethany, CT, 06524.

   266.        Defendant Sergeant Judicial Marshal Powers, Badge #157 of the New Haven Superior

      Court, Official and individual capacities, with an address of 235 Church street, New Haven, CT,

      06510.


38- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS      Document 1        Filed 10/12/23     Page 39 of 98




   267.        Defendant Sergeant Judicial Marshal Schweitzer, Badge #129 of the New Haven Superior

      Comi, Official and individual capacities, with an address of 235 Church street, New Haven, CT,

      06510.

   268.        Defendant Sergeant Kirby of the Orange Police Department, Official and individual

      capacities, is a sergeant employed with the Orange Police Department, with an official address of

      314 Lambert Rd, Orange, CT, 06477.

   269.        Defendant Several Jane Doe and John Doe Connecticut Court Marshals from Milford

      Superior Court, Official and individual capacities, are employed with the State of Connecticut

      and work at 14 West River st, Milford, CT, 06460.

   270.        Defendant Several Jane Doe and John Doe Connecticut Court Marshals from Derby

      Superior Court, Official and individual capacities, are employed with the State of Connecticut

      and work at the Derby GA 5 Court, with an official address of 106 Elizabeth Street, Derby, CT,

      06418.

   271.        Defendant Several Jane Doe and John Doe Connecticut Court Marshals from New Haven

      Superior Court, Official and individual capacities, are employed with the State of Connecticut and

      work at 235 Church st, New Haven, CT, 06510.

   272.        Defendant Several Jane Doe and John Doe Derby Superior Court Clerks from the Derby

      GAS Clerks Office, Official and individual capacities, are employed with the State of Connecticut

      and work at the Derby GA 5 Court, with an official address of 106 Elizabeth Street, Derby, CT,

      06418.

   273.        Defendant Several Jane Doe and John Doe Milford Connecticut Superior Court Clerks

      Office Clerks, Official and individual capacities, are located at 14 West River st, Milford, CT,

      06460.


39- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23      Page 40 of 98




   274.        Defendant Several Jane Doe and John Doe New Haven Superior Court Clerks Office

      Clerks, Official and individual capacities, are located at 235 Church street, New Haven, CT,

      06510.

   275.        Defendant Shakeria Brown, Official and individual capacities, is the owner of Renew Your

      Mind LLC with an address at 21 WW. Main Street, 4th Floor, Waterbury, CT, 06702.

   276.        Defendant Connecticut Legal Rights Project, Inc. is a 501(c)(3) non-profit tax-exempt

      corporation with a registered address of PO Box 351, Silver Street, Middletown, CT, 06457.

   277.        Defendant Shari-Lynne Cuomo Shore, Official and individual capacities, is a member of

      the executive committee for the Connecticut Bar Association, and an executive member of the

      New Haven County Bar Association with an address of 900 Chapel St #10, New Haven, CT,

      06510.

   278.        Defendant Shawniel Chamanlal, Official and individual capacities, is the owner of Healing

      Springs Wellness Center LLC, located at 1006 S. Main St, suite 4, Plantsville, CT, 06479.

   279.        Defendant Shelby Summers, Official and individual capacities, is the director of student

      affairs at the University of Connecticut School of Law with an address of 55 Elizabeth Street,

      Hartford, CT, 06105.

   280.        Honorable Karen Demeola, Official and individual capacities, is a former Dean of the

      University of Connecticut School of Law and current judge presiding at 155 Church street,

      Putnam, CT, 06260.

   281.        Defendant Stacy Votto, Official and individual capacities, serves as an Executive

      Committee Officer for the New Haven County Bar Association with an official address of 900

      Chapel St #10, New Haven, CT, 06510.

   282.        Defendant Stan Strusky, Official and individual capacities, is the husband of Defendant


40- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23      Page 41 of 98




      Jessica Strusky, and a resident of Connecticut residing at 100 Salem Rd, Prospect, CT.

   283.        Defendant State of Connecticut is located at 210 Capitol Ave, Suite 104, Hmiford, CT,

      06106.

   284.        Defendant State of Connecticut Senate Democrats is an organization located at 750 Main

      street, Suite 1108-3, Hartford, CT, 06103.

   285.        Defendant Stephanie Bernstein, Esq, Official and individual capacities, is located at 124

      Washington Avenue, Middletown, CT, 06457.

   286.        Defendant Stephanie Roberge, Esq., Official and individual capacities, is the Chairperson

      for the State of Connecticut Judicial Review Council, with an official address of 505 Hudson Street

      #5, Hartford, CT, 06106.

   287.        Defendant Stephanie Sgambati, Official and individual capacities, is domiciled in the state

      of Connecticut and serves as an Executive Committee Officer for the New Haven County Bar

      Association with an official address of 900 Chapel St #10, New Haven, CT, 06510.

   288.        Defendant Tahlisa Brougham, Official and individual capacities, is an employee of New

      Haven Legal Assistance Association, Inc. with an official address of 205 Orange Street, New

      Haven, CT, 06510.

   289.        Defendant Tamar Birckhead, Official and individual capacities, is domiciled in the state of

      Connecticut and serves as an Executive Committee Officer for the New Haven County Bar

      Association with an official address of900 Chapel St #10, New Haven, CT, 06510.

   290.        Defendant The Center for Family Justice, Inc. is a non-profit organization in Connecticut

      located at 753 Fairfield Ave, Bridgeport, CT, 06604.

   291.        Defendant The DeCicco Law Firm, LLC is a law firm located at 27 Holmes Ave,

      Waterbury, CT, 06710.


41-COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1      Filed 10/12/23     Page 42 of 98




   292.        Defendant The Community Foundation for Greater New Haven Inc. is located at 70

      Audobon St, New Haven, CT, 06510.

   293.        Defendant The Umbrella Center for Domestic Violence Services of BHcare, is a subsidiary

      ofBHcare located at 1000 Bridgeport Avenue, Suite 310, Shelton, CT, 06484.

   294.        Defendant The University of Connecticut is a non-profit state University in the State of

      Connecticut located at 233 Glenbrook Road Unit 4100, Storrs, CT, 06269.

   295.        Defendant Thomas A. Esposito, Official and individual capacities, is an attorney licensed

      to practice law in the State of Connecticut and a member of the State of Connecticut Marshal

      Commission, with an address of 450 Columbus Blvd., Suite 1403, Hartford, CT, 06103.

   296.        Defendant Tim Pothin, Official and individual capacities, is domiciled in the state of

      Connecticut and serves as an Executive Committee Officer for the New Haven County Bar

      Association with an official address of 900 Chapel St #10, New Haven, CT, 06510.

   297.        Defendant Town of Orange First Selectman's Office, is the municipal government office

      for the Town of Orange with an address of 617 Orange Center Rd, Orange, CT, 06477.

   298.        Defendant University of Connecticut School of Law is the only public state of Connecticut

      Law School in the state and owned by the University of Connecticut, with an address of 55

      Elizabeth Street, Hartford, CT, 06105.

   299.        Defendant United States Department of Justice Civil Rights Division, is a branch of the

      United States Department of Justice with a listed address of 950 Pennsylvania A venue NW, Office

      of the Assistant Attorney General, Main ,Washington, DC, 20530.

   300.        Defendant Victim Rights Center of Connecticut Inc. is a non-profit located at 8 Research

      Parkway, Wallingford, CT, 06492.

   301.        Defendant Violence Against Women Prevention Program Inc., is part of the Gladstein


42- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23      Page 43 of 98




      Family Human Rights Institute and has a registered address at The Dodd Center For Human Rights,

      405 Babbidge road, U-1205, Storrs, CT, 06269.

   302.        Defendant Welty Esposito & Weiler, LLC, is a law firm located at 385 Orange Street, New

      Haven, CT, 06511.

   303.        Defendant Whole House Remodeling Company LLC, Official and individual capacities,

      is a full-service remodeling and construction company owned and operated by Defendant Matthew

      J. Lodice registered at 48 Quarry Hill Rd, Waterbury, CT, 06706.

   304.        Defendant William Tong, Official and individual capacities, is the State of Connecticut

      Attorney General at the Office of the Attorney General for the State of Connecticut, with an official

      address of 165 Capitol Avenue, Hartford, CT, 06106.

   305.        Defendant Yale Child Abuse Clinic is owned by Yale New Haven Health Services

      Corporation Inc and is owned by Yale School of Medicine and has an address of 1 Longwharf

      drive, New Haven, CT, 06511.

   306.        Defendant Yale University is the parent educational institute of Yale New Haven Health

      Services Corporation Inc, a 50l(c)(3) tax-exempt corporation non-profit registered at 789 Howard

      A venue, New Haven, CT, 06519.

   307.        Defendant Yale New Haven Health Services Corporation Inc. is a 501(c)(3) tax-exempt

      corporation non-profit registered at 789 Howard Avenue, New Haven, CT, 06519.

   308.        Defendant Yale University Child Study Center is a branch of Yale University that offers

      mental health services to children and is a pmi of Yale School of Medicine with a registered

      address of230 S. Frontage Rd, New Haven, CT, 06519.

   309.        Defendant Zingaro, Cretella, and Rasile LLC is a law firm located in the State of

      Connecticut with a registered address of 681 State Street, New Haven, CT, 06511.


43- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS        Document 1       Filed 10/12/23     Page 44 of 98




   310.        Defendant Trinity Health of New England Emergency Medical Services, Inc. is owned by

      Defendant Trinity Health Inc. is the parent company of Defendant Trinity Health of New England

      Corporation Inc. is the parent company of Saint Mary's Hospital in Waterbury, CT, and has a

      registered address of 114 Woodland Street MS-510358, Hartford, CT, 06105.

   311.        Defendant Trinity Health of New England Corporation Inc. is the parent company of Saint

      Mary's Hospital in Waterbury, CT, and has a registered address of 114 Woodland Street MS-

      510358, Hartford, CT, 06105.

   312.        Defendant Trinity Health Inc. is the parent company of Defendant Trinity Health of New

      England Corporation Inc. is the parent company of Saint Mary's Hospital in Waterbury, CT, and

      has a registered address of 114 Woodland Street MS-510358, Hartford, CT, 06105.

   313.        Defendant Saint Mary's Hospital in Waterbury is a subsidiary of Defendant Trinity Health

      of New England Corporation Inc. is the parent company of Saint Mary's Hospital in Waterbury,

      CT, and has a registered address of 114 Woodland Street MS-510358, Hartford, CT, 06105.

   314.        Defendant Carmelina Calebrese, Official and individual capacities, is the Patient Advocate

      for Saint Mary's Hospital in Waterbury, CT, with a listed address of 56 Franklin Street, Waterbury,

      CT, 06706.

   315.        Defendant Stephanie N. Doe, Official and individual capacities, is the Director of Quality

      for the Quality Department of Saint Mary's Hospital in Waterbury, CT, with a listed address of 56

      Franklin Street, Waterbury, CT, 06706.

   316.        Defendant Maureen Cooney, Official and individual capacities, is the supervisor for the

      Department of Health Information Management for Saint Mary's Hospital in Waterbury, CT, with

      a listed address of 56 Franklin Street, Waterbury, CT, 06706.

   317.        Defendant New Haven County Bar Foundation Inc. is a 501(c)(3) organization registered


44- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS         Document 1       Filed 10/12/23      Page 45 of 98




       at 171 Orange Street, New Haven, CT, 06510.

   318.        Defendant Jared Mastej, Official and individual capacities, is a resident of the State of

       Connecticut and resides at 36 Center Street, West Haven, CT, 06516.

   319.        Defendant Officer Joseph Mortali of the Hamden Police Department, Official and

       individual capacities, with an address of2900 Dixwell Ave, Hamden, CT, 06518.

   320.        Defendant Julio O1iiz, Official and individual capacities, is a former employee of the State

       of Connecticut State Police and a current independent contractor working with the state of

       Connecticut as a private investigator. He is the owner of Fortified Investigations and Security,

       LLC, with a listed address of 87 Alpine Street, Bridgeport, CT, 06610.

   321.        Defendant Fortified Investigations and Security LLC, Official and individual capacities, is

       a registered business and state contractor in the state of Connecticut owned and operated by

       Defendant Julio O1iiz, with a listed address of 87 Alpine Street, Bridgep01i, CT, 06610.

   322.        Defendant Connecticut Bar Association Inc. is a Connecticut legal profession member

       organization located at 30 Bank Street, New Britain, CT, 06051.

   323.        Defendant Director of Health for the Town of Orange Amir Mohammad, Official and

       individual capacities, 605A Orange Center Road, Orange, CT, 06477.



41. All above cited Defendants have participated, either through direct acts, omissions, associations, or

in conspiracy with and through aiding and abetting in the ongoing and systematic obstruction of justice

that has directly damaged and caused irreparable harm to the business and property of the Plaintiff.

                                         NATURE OF ACTION

       1. This is an action alleging fraud, civil conspiracy to commit fraud, abuse of process, and

racketeering, money laundering, tax evasion, and other false claims and torts all arising from an intricate


45- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 46 of 98




and longstanding interconnected web of a RICO scheme in which each of the defendants play a specific

and unique role that was designed and implemented to defraud the United States, the impoverished, the

self-represented, the uneducated, the disabled, and any other class of people that has suffered

immeasurable injustices and inequalities at the hands of the State of Connecticut RICO enterprise, and has

irreparably harmed plaintiff both personally and as legal guardian of her minor children A.L. and J.V..

       2. Plaintiff has repeatedly and systematically been victimized by the defendant both personally and

as a victim of the RICO scheme, and as such has suffered substantial injury to her person, business, and

property as a result of being victimized by the fraudulent racketeering corrupted scheme set forth by the

defendants.

       3. Specifically, Plaintiff brings also this action against the aforementioned Defendants pursuant to

substantial violations to the Racketeer Influenced and Corrupt Organizations Act ("RICO"), the

Connecticut Code of Judicial Conduct, 42 U.S.C. § 1983, Child Abuse Prevention and Treatment Act,

Title II of the American with Disabilities Act, Adoption and Safe Families Act, Keeping Children and

Families Safe Act, Family Educational Rights and Privacy Act, United States Ethics Rules for Judges, The

Convention Against Torture, Code of Conduct for Judges, 5th Amendment to the United States

Constitution, equal protection rights under the 14th Amendment to the United States Constitution,

deprivation of parental rights, Title IV-D of the Social Security Act, 1st Amendment to the United States

Constitution, Freedom of Assembly, Freedom of Speech, Free Exercise, The Establishment Clause, Family

First Prevention Service Act, Fostering Connections to Success and Increasing Adoptions Act, 28 U.S.C.

§ 1253, Victims of Child Abuse Act, False Claims Act, 31 U.S.C. 3729, U.S.C. 2461, Rules Governing

the Courts of the State of Connecticut, The Violence Against Women Act, various additional violations of

civil rights, various other violations of rights as crime victims, restrictions of constitutional rights,

violations of fundamental unenumerated rights under the United States Constitution, due process


46- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
           Case 3:23-cv-01337-MPS                   Document 1            Filed 10/12/23           Page 47 of 98




violations, violation of various state and federal criminal statutes, and otherwise malfeasance acting under

the color oflaw 1 by either direct, indirect, or through association and conspiracy and other applicable state

and federal laws. There is no adequate remedy by appeal or other action that will ensure that the Plaintiffs

constitutional rights are protected in this matter. The plaintiff also has uncovered a series of

unconstitutional practices, policies, laws, and/or statutes that need careful judicial analysis and review to

answer unprecedented and unclear questions of law involving fundamental rights which will significantly

impact the public in a widespread capacity.

          4. In furtherance of the RICO scheme and their own persona, social, and financial gains, the

Defendants in conspiracy and in conjunction with each other, have deliberately and repeatedly acted under

the color of law while annihilating the Plaintiffs right to due process defined by the Fifth and Fourteenth

Amendments of the United States Constitution. This Complaint will affirm acts of encroachment under

42 U.S. Code § 1983 and the Racketeer Influenced and Corrupt Organizations Act (RICO). Plaintiff is

seeking injunctive relief, compensatory damages, punitive damages, costs, treble damages, and

declaratory judgment from defendants for said violations of rights.

          5. Plaintiff files this Complaint pursuant to the Judicial Conduct and Disability Act of 1980, 28

U.S.C. § 351-364 against Defendant Grossman and all other Defendant Judges, Defendant Clerks and

Defendant Judicial Marshals named in this complaint for their involvement and misconduct in multiple

cases involving the plaintiffs, including but not limited to the following: Theodora F Antar v. Matthew J



1
  A civil rights complaint is used to bring claims that seek relief for the violation of a person's federal or constitutional rights.
Title 42 § 1982 (the civil rights statute) does not confer rights, but instead allows individuals to enforce rights contained in the
United States Constitution and defined by federal law. To state a claim under § 1983, the person seeking relief (a plaintiff)
must allege (I) a violation ofrights protected by the Constitution or created by federal statute (2) proximately caused by conduct
of (3) a person (4) acting under color of state law (a defendant). Crumpton v. Gates, 947 F.2d 1418, 1420 W" Cir. 1991). Under
this law, a person who acts under color of state law to violate another's constitutional rights may be liable for money damages,
declaratory relief ( a court declaration that a violation is occurring), or injunctive relief (an order for the defendant to act or stop
acting in a particular way).



47- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 48 of 98




Lodice, Docket No. NNH-FA-XX-XXXXXXX-S, Theodora F Antar(ST/CT) v. MatthewJ Lodice, Docket No.

NNH-FA-XX-XXXXXXX-S, Theodora F Antar v. Matthew J Lodice, Docket No. NNH-FA-XX-XXXXXXX-S,

Theodora F Antar v. Gerald Viglione Jr., Docket No. NNH-FA-XX-XXXXXXX-S, Angelina M Lodice PPA

Theodora Antar v. Matthew J Lodice, Docket No. AAN-FA-XX-XXXXXXX-S, Theodora F Antar v Matthew

J Lodice, Docket No. NNH-FA-XX-XXXXXXX-S, Theodora F Antar v Matthew J Lodice, Docket No.

NNH-FA-XX-XXXXXXX-S, Mark Wachter v. Theodora F Antar, Docket No. NNH-FA-XX-XXXXXXX-S,

Theodora F Antar v. Scott Lodice, Docket No. NNH-FA-XX-XXXXXXX-S, Theodora F Antar v Matthew J

Lodice, Docket No. NNH-FA-XX-XXXXXXX-S, Theodora F Antar v Matthew .J Lodice, Docket No. AAN-

FA-XX-XXXXXXX-S, Theodora F Antar v Matthew .J Lodice, Docket No. AAN-FA-XX-XXXXXXX-S,

Angelina Maria Lodice PPA Theodora F Antar v. Dominic Lodice, Docket No. AAN-FA-XX-XXXXXXX-S,

State o_[Connecticut v. Matthew J Lodice, Docket No. A0SDCR-XX-XXXXXXX-S, State o.f Connecticut v.

Theodora F Antar, Docket No. A05D-CR23-0191150-S and other associated dockets including any

labeled State of Connecticut v. Theodora F Antar that have no public record and any which have resulted

in full dismissals.

        6. Plaintiff alleges that Defendants, individually and as a collective, within their sub-organizations

but as members of the overall organization based on associations, acts, and omissions, conspired to and

engaged in acts or omissions to fmiher the goals of the RICO scheme, which has been impacting victims

for decades. The Defendant Grossman, the leader of one of the such sub-organizations, and member and

affiliate with several of the other sub-organizations, also abused her authority and conspired with other

defendants and orchestrated an intricate scheme involving obstruction of justice, tampering with

witnesses, intrinsic fraud upon the court, and other acts in violation of state and federal laws, including

but not limited to bribery, racketeering, and trafficking of children into homes where they were more likely

to experience sexual abuse in an alarming pattern and trend. Defendant Grossman knowingly and


48- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS             Document 1        Filed 10/12/23      Page 49 of 98




deliberately violated laws while acting in her official and individual capacity and has consistently and

repeatedly violated the Canons of the Code of Conduct for State Judges, namely Cannons 2A and 3.

        7. Furthermore, several of the other Defendant state actors have engaged in numerous instances of

judicial and/or official legal misconduct including, but not limited to racketeering, fraud, bribery,

extortion, tampering with witnesses, and obstruction of justice. Plaintiff will show that Defendants' actions

caused the deprivation of Plaintiff and Plaintiff's minor children's constitutional rights. See 42 U.S.C. §

1983; Arnold v. International Business Machines Corp., 637 F.2d 1350, 1355 (9th Cir. 1981). Plaintiff

also seeks the court to take judicial notice of plaintiff's challenge to the federal rule of civil procedure

which dictates that a pro-se parent plaintiff does not have the right to include their children as a plaintiff

on a federal lawsuit, and that the minor child must be represented by counsel in order to be paii of the

lawsuit. However, there is no right to counsel, and no right to paid counsel for minor children in said cases,

which is a violation of the constitutional right to due process and equal protection. If an indigent parent

plaintiff is unable to find an attorney willing or able to represent their children in a lawsuit, that plaintiff

must then be forced to exclude said children and the child is then deprived of their constitutional right to

equal protection and due process of the law. Plaintiffs are required to meet 2 barriers: 1. They must find a

civil attorney that will agree to represent their minor child(ren) in the civil lawsuit, which may not be an

easy task if the claims are against the state actors that many attorneys work with regularly and 2. They

must be able to afford said attorney. Many attorneys do not take cases on a contingency basis, and many

attorneys shy away from controversial cases in an effort to protect their reputation and careers and avoid

retaliation or backlash by members of the Bar or the community. Plaintiff feels this is unconstitutional and

wishes to include both her minor children A.L. and J.V. as plaintiffs on this action, yet per rules of

procedure is barred from doing so. This rule violates the equal protection clause of the United States

Constitution and should be revised to allow indigent parent plaintiffs whose children's rights have been


49- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 50 of 98




violated to file pro-se lawsuits on their children's behalf without an attorney, otherwise they have no access

to law and risk losing the chance to ever bring the claims in the future.

        8. Plaintiff further contends that the Defendants, in conspiracy with and in collusion with one

another, and as part of a longstanding RICO scheme involving the misappropriate of federal funding from

Title IV-D of the Social Security Act, CAPTA, VAWA, and other corrupt acts acted knowingly, improperly,

and with deliberate indifference to the Plaintiffs' established constitutional and civil rights acting under

the color of law. See West v. Atkins, 487 U.S. 42, 48 (1988); Piecknick v. Pennsylvania, 36 F.3d 1250,

1255-56 (3d. Cir. 1994).

        9. This lawsuit concerns the need for equal justice and reform to the entire structure of the family

court system in order to remedy the unconstitutional and damaging trends, patterns, and practices that

have been denying countless parents and their children the fairness which is demanded and entitled to

them by the United States Constitution. All non-custodial parents within the State of Connecticut are

guaranteed constitutional protections under federal law. Collectively, these Defendants are systematically

furthering their RICO scheme in an effort to continue the tradition of embezzling federal funding while

simultaneously depriving citizens of their lawful rights and violating federal laws daily under the guise of

sovereign impunity.

        10. Defendants, collectively and in conspiracy with one another, have violated the rights of

Plaintiffs under the Fourteenth Amendment of the Constitution of the United States of America, the Due

Process Clause of the Fifth and Fourteenth Amendments to the Constitution of the United States of

America, and the Equal Protection Clause. "All persons born or naturalized in the United States, and

subject to the jurisdiction thereof, are citizens of the United States and of the state wherein they reside.

No state shall make or enforce any law which shall abridge the privileges or immunities of citizens of the




50- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 51 of 98




United States; nor shall any state deprive any person of life, liberty, or property, without due process of

law; nor deny to any person within its jurisdiction the equal protection of the laws."

       11. The Fourteenth Amendment, ratified in 1868, uses the same eleven words, called the Due

Process Clause, to describe a legal obligation of all states. These words have as their central promise an

assurance that all levels of American government must operate within the law ("legality") and provide fair

procedures. The Fifth Amendment's reference to "due process" is only one of many promises of protection

the Bill of Rights gives citizens against the federal government. Originally these promises had no

application at all against the states (see Barron v City of Baltimore (1833)). However, this attitude faded

in Chicago, Burlington & Quincy Railroad Company v. City o.fChicago (1897).

       12. Defendants' collective, repeated, and intricately orchestrated conduct was so obviously

violative of Plaintiffs rights and Plaintiffs resulting injuries are so severe that it is shocking to the

conscience and can only be described as a sadistic form of torture.

       13. Plaintiff continues to suffer the results of the extensive abuses she was subjected to by the

Defendants. This is an action for damages and other relief arising under the United States Constitution

and the laws of the United States.

       14. The plaintiff has sustained injuries and psychological harm amounting to irreparable and

permanent harm as a proximate result of Defendants collective actions and systematic fraud and

misconduct. These Defendants and other legal court representatives and associated state actors should be

voluntarily removed by self-recusal or involuntarily removed by this Court and criminal indictments on

federal charges should be levied upon them to ensure the public trust in the judiciary and to ensure the

fraudulent scheme will not continue indefinitely into the future without oversight.

       15. The Defendants are all associated with one another in a specified way or associated with the

overall case and controversy and as such they have all played a unique, yet crucial role in the furtherance


51- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 52 of 98




and perpetuity of the overall RICO scheme in systematically depriving the Plaintiff of her rights under

federal law and the United States Constitution.

        16. The defendants, in conspiracy with one another and through carefully planned and orchestrated

acts, omissions, and associations, have aided and abetted and conspired to patiake in, invest in, and

otherwise involve and associate themselves in an ongoing and systematic corrupt organization deeply

embedded within the State of Connecticut involving welfare fraud, misappropriation of federal funding

delegated to the states through Title IV-D of the Social Security Act, deprivation of rights, t01iure, human

trafficking, and engaging in acceptance of bribery and other illegal acts in a systematic scheme that has

been exploiting citizens, including the Plaintiff, for several decades.

        17. This lawsuit is an attempt to stop the corruption in the State of Connecticut, particularly within

the criminal justice and family branches of the judicial system and to end the ongoing corruption going

on within the State of Connecticut by and through its actors, agents, associates, affiliates, and those acting

through powers delegated either directly or indirectly through an arm of the state or anyone else given

said powers or control.

        18. The Defendant Grossman, in conspiracy with multiple other Defendants, intentionally deprived

and encouraged many of the other defendants to personally attack and deprive the Plaintiff of her

constitutional, federal, state, and crime victim rights in an effort to cover up the ongoing molestation and

sexual abuse of the Plaintiff's minor child A.L.

        19. The Defendant Grossman fmiher engaged in a longstanding pattern of fraud, misappropriation

of federal funding, racketeering, and other illegal acts. She is also a member of, affiliated with, or has a

substantial influence over several of the other defendants named in this lawsuit, and has shown herself to

repeatedly exhibit cruel and unusual punishments in an intentional scheme to fmiher the sexual abuse of

children and engage in human trafficking in violation of federal and state laws. She has violated rights


52- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS             Document 1       Filed 10/12/23      Page 53 of 98




guaranteed within several U.N. treaties that have been ratified by the United States and has maliciously

and in an effort to retaliate against anyone who complains about her forced litigants to be permanently

blocked from accessing the judicial system as a result of her influence, control, and leadership role within

the overall RICO scheme. She also violated multiple judicial canons, deprived Plaintiff of both substantive

and procedural due process, the right to counsel, and rights entitled through the Americans with

Disabilities act, VAWA, CAPTA, and the United States Constitution, among others.

        20. The Defendant Grossman orchestrated a scheme that included a massive obstruction of justice

and tampering with witnesses in which she instructed and delegated to others to engage in acts or

omissions in an effort to facilitate in trafficking the Plaintiff's minor child A.L. into the hands of her

alleged sexual abuser in an effort to protect the Defendant Lodice or his minor child D.L. from any

potential criminal charges or liability related to such allegations of sexual abuse.

        21. Many of the Defendants, either directly, indirectly, or through acts, omissions, or association,

have repeatedly violated laws in order to further their own financial gains and obstructed justice, engaged

in taking or offering bribes, money laundering, fraud, racketeering, and abuse of children through

deprivation of liberty against the Plaintiffs.

        22. The Defendants who are associated with the Defendant Lodice, including those who are or

were state actors, have engaged in the acceptance of bribes, obstruction of justice, and other acts and

omissions in an effort to further attempt to discredit the Plaintiff and her minor child A.L. and isolate

Plaintiff and her minor daughter from one another for the purpose of obstructing justice regarding the

allegations of sexual abuse by the defendant D.L.

       23. The Plaintiff's minor child A.L. has on multiple occasions, made disclosures regarding the

sexual abuse that she has experienced at the hands of the Defendant Lodice's minor child D.L., however

this has been twisted to be used as a justification in the eyes of Defendant Grossman to deprive Plaintiffs


53- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23     Page 54 of 98




of all legal rights and access to the justice system without protecting any of Plaintiff's constitutional or

due process rights.

       24. Defendant Grossman, who has repeatedly refused to recuse herself or allow any other judicial

authority preside over any matter involving the Plaintiff, is also an adjunct professor at Quinnipiac

University School of Law, sits as one of the executive board members of the New Haven County Bar

Association, worked as a criminal judge in New Haven, a support magistrate judge in New Haven,

Waterbury, and Bridgeport, and was a staff attorney with New Haven Legal Assistance Inc. for more than

a decade, representing low-income individuals in primarily family, criminal and housing matters.

       She is well aware of the challenges that low-income individuals face when being denied access to

the law and being unable to obtain proper legal representation due to the furtherance of the RICO scheme.

Defendant Grossman received her bachelor's degree from Quinnipiac University in Psychology and

received her law degree from Quinnipiac University School of Law. She has many personal friendships

and relationships with the other named Defendants in this action and as such has influenced the acts and

omissions of said Defendants. Her history has also exposed her to extrajudicial facts, information, and

knowledge regarding the plaintiff due to the plaintiff's history.

       25. Defendant Grossman had no qualms about removing the Plaintiff's minor child A.L. from the

loving arms of the Plaintiff/Mother, while also separating her from her minor sister J.V., only to give

custody to the abusive father under the sole reasoning of Defendant Grossman's baseless accusations that

the Plaintiff was "lying" about the sexual abuse allegations. The Plaintiff submitted over 70 videos to the

New Britain Police Department and to the Department of Children and Families, specifically to Defendant

Plummer, and to Defendant Steeves, all of which included video evidence in which the plaintiff's minor

daughter A.L. repeatedly discloses details regarding the fact that she is claiming to have been sexually

abused by the Defendant Lodice's minor son Defendant D.L. on a regular basis over the past year and a


54- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23       Page 55 of 98




half. The Defendant Grossman never saw a single one of the videos, nor did she ever see any evidence

regarding said abuse.

       The Defendant Steeves claimed to have investigated the abuse, but never even met the minor child

A.L. Defendant Grossman made a ruling with no notice, no due process, and without even swearing the

plaintiff in, and traumatically ordered that the minor child A.L. be unexpectedly and immediately

transferred to the sole legal and sole physical custody of the Defendant Lodice without proving the plaintiff

to be unfit. Defendant Grossman ordered on May 25, 2023 that the plaintiff would only be allowed to see

the minor child A.L. "as determined by the father" and "supervised by a third party designated by the

father" which essentially delegated her power as an arm of the state to the Defendant Lodice, who then

subsequently delegated that power to many of the other defendants within the sub-organization that he

leads within the overall RICO scheme.

        26. Furthermore, Defendant Grossman failed to protect the constitutional rights of the minor child

A.L. when delegated any and all of her judicial authority to the Defendant Lodice, forcibly alienating the

Plaintiff from her minor child and essentially removed all edicts regarding constitutional parental rights

and federal laws regarding domestic violence, child protection, and the fundamental rights of parents.

       The State of Connecticut RICO enterprise, by and through its agencies, commissions, departments,

and other arms and legs and agents and actors, has exploited the poor by fraudulently obtaining billions

of dollars in federal funding to create child protection, domestic violence, social services, and legal and

mental health services to the poor to then deny the same poor indigent citizens of the State any such relief.

Each defendant played a role in one way or another and is liable.

                                     JURISDICTION AND VENUE
       27. This Court has jurisdiction pursuant to 28 U.S.C. § 1251, § 1253, § 1331 and § 1332, because it

can hear cases that fall both within the scope of the United States Constitution in Article III Section 2 and


55- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 56 of 98




Congressional statutes as listed above. Furthermore, this Court has jurisdiction to hear cases to be

determined by the Due Process Clause of the Constitution's Fifth Amendment.

        28. This court has original subject-matter jurisdiction pursuant to 18 U.S.C. § 1964(C) and 28

U.S.C. § 1331 because this action arises, in part, under the Federal Racketeer Influenced and Corrupt

Organizations Act ("Federal Rico")

        29. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because a substantial part of the

events or omissions giving rise to the claims asserted allegedly occurred in this District. In fact, the entirety

of Defendants erroneous actions and omissions took place in the State of Connecticut.

        30. This Court has personal jurisdiction over Defendants who are involved in the Connecticut

Judicial System, particularly Grossman because she aimed and purposefully directed their illegitimate

actions while sitting on the bench of the State of Connecticut and presiding over multiple of the Plaintiffs

civil cases.

        31. This Court has the authority to grant declaratory relief, 28 U.S.C. § 2201, as well as further

reliefrequested in this Complaint, including injunctive relief, 28 U.S.C. § 2202.

        32. This Court has jurisdiction pursuant to28 U.S.C. §1251, §1253, §1331 and §1332, because it

can hear cases that fall both within the scope of the United States Constitution in Article III Section 2 and

Congressional statutes as listed above. Furthermore, this Court has jurisdiction to hear cases to be

determined by the Due Process Clause of the Constitution's Fifth Amendment.

        33. This Court has both subject matter jurisdiction as well as personal jurisdiction to hear this

matter and make a binding judgment on this case.

        34. Venue is proper in this Comi pursuant to 28 U.S.C. § 1391, because a substantial pmi of the

events or omissions giving rise to the claims asse1ied allegedly occurred in this District. In fact, the entirety

of Defendant's erroneous actions took place in the State of Connecticut.


56- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 57 of 98




       35. This Court has personal jurisdiction over Defendant Grossman because she aimed and

purposefully directed their illegitimate actions while sitting on the bench of the State of Connecticut and

presiding over Plaintiffs civil case.

       36. This Court has the authority to grant declaratory relief, 28 U.S.C. § 2201, as well as further

relief requested in this Complaint, including injunctive relief, 28 U.S.C. § 2202.

       37. This action is brought pursuant to the Racketeer Influenced and Corrupt Organizations Act

("RICO"), 18 U.S.C. §§ 1961-1968, to redress defendants' conspiracy and pattern of corrupt and illegal

activities in the State, including abuse of federal funded welfare and domestic violence programs, child

support and welfare fraud, and corruption involving judges and state actors.

       38. This Com1 has personal jurisdiction over Plaintiff's related state and common law claims

pursuant to the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367.

       39. This Court has personal jurisdiction over all defendants in this action as all defendants are

either domiciled in, do business in, have sufficient contacts with, or otherwise are or are associated with

the state of Connecticut.

                                        FACTUAL CONTENTIONS
42. The Plaintiff was born in New Haven, Connecticut and has resided in Connecticut within New Haven

   County for the past 32 consecutive years.

43. The Plaintiff has documented disabilities which are protected under the Americans with Disabilities

   Act which include ADHD and PTSD that was caused by intense and severe levels of exposure to

   childhood trauma that included sexual abuse, homelessness, victimization by the criminal justice

   system, and living in pove1iy.

44. Plaintiff was also repeatedly victimized by the very system that was federally incentivized, funded,

   and designed to theoretically protect her at the hands of the Co1mecticut Judicial System, DCF and


57- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 58 of 98




   other defendant state agencies who further exacerbated the trauma she was forced to endure so they

   would continue to act toward the furtherance of the RICO scheme that has also victimized countless

   others within the state of Connecticut for decades.

45. The Plaintiff was, as the late Honorable Judge Richard Damiani stated, repeatedly "victimized by our

   system" and as a result possesses a remarkably intuitive perspective and inside knowledge and

   exposure to the ongoing RICO scheme and for-profit judicial system operations being orchestrated by

   the state and has suffered tremendously as a result. See State of Connecticut v. Christopher Katagis,

   NNH-CR-XX-XXXXXXX T.

46. DCF, the State of Connecticut Judicial System, the State of Connecticut Division of Criminal Justice,

   and many of the programs and organizations that receive funding through the federal government

   designed to help victims of abuse and domestic violence all collectively failed the plaintiff and directly

   added to her lifelong trauma, pain, and suffering. This is hallmark of the State of Connecticut's

   longstanding for-profit judicial system and the pattern of due process violations, misuse of federal

   funding, extortion, bribery, money laundering, racketeering, human trafficking, and obstruction of

   justice.

47. The Defendant Abdelghany Antar (hereinafter "Antar"), historically took advantage of and exploited

   several of these systematic RICO schemes in order to fraudulently obtain benefits through the DSS,

   reduce or eliminate child support obligations through fraudulently fabricated financial statements

   submitted in the New Haven Superior Court in an effort to defraud CCSES and in turn deprive the

   plaintiff of her right to the benefits of his financial support under federal laws as her biological father.

48. Defendant Diamanto Antonellis (hereinafter "Antonellis") lost custody of plaintiff when plaintiff was

   fourteen years old, forcing her to then live under the care and custody of Antar, who then proceeded

   to neglect plaintiff for the four years he was acting as her sole custodial guardian. Antar deprived


58- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS             Document 1     Filed 10/12/23      Page 59 of 98




   plaintiff of basic necessities like food, water, and shelter, while simultaneously making millions of

   dollars through a series of intricate RICO schemes that he orchestrated, all by and through business

   ventures in the State of Connecticut.

49. In spite of this, New Haven Superior Court, New Haven Child Suppmi Enforcement Services,

   Connecticut Child Support Enforcement Services, and The Department of Social Services all failed to

   comply with federal requirements regarding the enforcement of child support, which ultimately left

   plaintiff to continue to suffer in poverty.

50. The State of Connecticut Department of Children and Families also failed to properly protect plaintiff

   when she was a minor, leaving her in a dangerous and neglectful environment with no adult

   supervision, access to services, financial support, or means of survival. Plaintiff was not only

   abandoned by Defendant Antonellis and then by Defendant Antar, but ultimately it was the

   Department of Children and Families who abandoned plaintiff and failed to protect her from the

   ongoing harm.

51. The Department of Children and Families receives billions of dollars in grants from the federal

   government that is supposed to go toward the protection of children, however every single day children

   like plaintiff and plaintiffs minor daughter A.L. continue to be victimized, and then re-victimized by

   the system. The ongoing systematic intricately woven RICO systems that all fall under the overarching

   blanket of the State of Connecticut is longstanding, deeply ingrained, and highly corrupted.

52. Plaintiff witnessed Defendant Antar speak openly regarding the various RICO schemes being

   orchestrated by the State in an effo1i to let the "poor get poorer", which most people in the state just

   accept as normal life in Connecticut, which has one of the highest discrepancies between the rich and

   the poor in the country. Between 1989 and 2016, income inequality between the richest and poorest

   families in the United States doubled.


59- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 60 of 98




53. Many, if not all, of the programs, comm1ss10ns, coalitions, foundations, and other "non-profit"

   organizations that are part of the Non-Profit Sector RICO operation, which report to the IRS that they

   are charitable organizations that exist to help the poor, disabled, abused, uneducated, and otherwise

   disadvantaged people of society who lack the means and opportunities to ever have a level playing

   field with their peers and colleagues.

54. The reality for many children growing up poor was similar to that of the plaintiff as a child. The only

   difference is that although plaintiff was initially with Antonellis who genuinely was unable to

   financially provide for her, Antar was able to provide and was making millions of dollars through his

   own series of RICO enterprise schemes, but chose to instead financially abuse and neglect the needs

   of plaintiff and her three siblings that are also his children. Antar was able to take advantage of the

   system and exploit the RICO enterprises for years without the State ever holding him accountable for

   anything.

55. As such, Defendant Antar further engaged in repeated violations of state and federal laws including

   wire fraud and mortgage fraud in obtaining multiple fraudulent mortgages and then intentionally

   defaulting on the loans while continuing to collect rent from tenants and failing to pay anything toward

   the m01igages.

56. Antar orchestrated various schemes throughout the years and ultimately after being indicted on federal

   charges for conspiracy to commit wire fraud, he "pled guilty on July 19, 2011, to an information

   charging him with one count of conspiracy to commit wire fraud under 18 U.S.C. § 371 for his

   leadership role in a mortgage fraud scheme involving 21 homes in greater New Haven." See United

   States ofAmerica v. Abdelghany Antar, 3:11-CR-00123-CFD

57. Defendant Antonellis, the plaintiffs mother, was an immigrant from Greece who had no college

   education or clear understanding of how to handle real estate transactions. Antar ext01ied her and


60- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 61 of 98




   fraudulently told her he would marry her and convinced her to use $150,000 of her money from a

   wrongful death settlement from her father as a down payment on a single-family residence in Bethany,

   CT, which Antar secured under his name under the guise that he would pay the m01igage. This house,

   located at 151 Cheshire road in Bethany, CT, was where the plaintiff resided from her birth in

   September of 1991 through March of 1996. Plaintiff lived there from the ages of 0-4.

58. On December 11, 1995, after Antar missed a substantial number of mortgage payments on the

   property, the New Haven Superior Court issued a judgment of strict foreclosure against the defendants

   Antar and Antonellis. See First Trust National Association v. Ali Antar, et al, NH-CV-XX-XXXXXXX-S

59. After receiving initial notice of judgment of foreclosure on January 22, 1995, and a subsequent 30-

   day extension of the February 13, 1996, ejectment date, on March 13, 1996, plaintiff and her family

   were forcibly evicted from the home and given only 24 hours to vacate the premises.

60. From March of 1996 until August of 2001 the plaintiff was also sexually abused by the defendant

   Katagis while under the care and custody of the defendant Antonellis. DCF was summoned to the

   plaintiff's home on numerous occasions during this time based on allegations of abuse and neglect

   being called in by third parties, yet DCF failed to intervene in any of said calls, which is paramount to

   their ongoing pattern of ignoring abuse and neglect while still exploiting federal funding in a RICO

   scheme that has spanned for decades.

61. DCF, which exists as a sub-organization within the overall organization of the State of Connecticut,

   has a longstanding history of failing to protect children within the state and allowing them to continue

   to be abused, neglected, and at times even murdered. DCF is misusing and fraudulently laundering

   federal funding. The State of Connecticut DCF currently has a federal Administration on Children and

   Families ACF grant along with other grants from additional federal funding sources. In spite of this,

   they have failed repeatedly to intervene in the ongoing case of A.L. being abused.


61- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS             Document 1      Filed 10/12/23      Page 62 of 98




62. On Sunday October 811\ 2023, the Defendant Matthew Lodice was arrested and charged with felony

   risk of injury to a minor, and resisting arrest/interfering with an officer for his failure to comply with

   a wellness check on the minor child A.L..

63. The Defendant Lodice was taken into police custody and nobody from DCF, The Waterbury Police

   Department, or any of its third party vendors, employees, or other associated state actors or employees

   of Trinity Healthcare/Saint Mary's hospital ever contacted plaintiff.

64. The Defendant Karen Bowers fraudulently forged documents to the hospital stating that she was the

   "legal guardian" of the minor child A.L., despite her having no legal rights, visitation, or custody with

   the child.

65. The actions of all of the defendants combined allowed for the minor child A.L. to be then taken in for

   medical treatments without plaintiff's knowledge or consent, all of which plaintiff is still waiting to

   receive records on as plaintiff now has to prove to the defendant Saint Mary's Hospital that she is in

   fact the legal guardian of her child.

66. The policies and procedures and practices implemented and utilized within the State of Connecticut

   does not protect children, encourages the likelihood of children continuing to suffer from abuse and

   neglect, and continues to misuse federal funding incentives. DCF fails to adhere to guidelines set forth

   in federal laws such as CAPTA and VA WA and other federal laws which mandate their participation

   and involvement in cases that include investigations into the welfare of children.

67. In spite of the defendant Lodice being a registrant on the DCF abuse and neglect registry for

   substantiations of neglect and abuse involving defendants D.L. and S.L., and despite his long history

   of violent crime and domestic violence, he was only released with a $1500.00 bond and as soon as he

   got out he proceeded to threaten to "have plaintiff arrested" if she ever tried to contact him, defendant

   Karen Bowers, or A.L. again.


62- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
          Case 3:23-cv-01337-MPS          Document 1        Filed 10/12/23      Page 63 of 98




68. Plaintiff has not seen A.L. in 8 weeks straight, and prior to that only saw her for less than 2 total days

   in a period of 20 straight weeks.

69. Plaintiff has not been able to have any contact with A.L. since 10/8/23, as Defendant Lodice, who

   claims that his official capacity and state authority comes from Defendant Grossman, says that he has

   the authority and power to terminate any and all contact, access, and visitation between plaintiff and

   A.L.

70. Defendant Lodice has even gone so far as to inform his extended family members that the same power

   can be confen-ed on to them at his command. Defendant Lodice instructed Karen Bowers to lie and

   say she was the legal guardian of A.L., and both Lodice and Bowers told the Waterbury Department

   Officer Seeger that plaintiff allegedly had "no legal rights" and was "not the guardian" of A.L.

71. Plaintiff has never Juul her parental rights terminated, never had her legal guardianship terminated,

   and has always been the biological mother, primary caregiver, and legal guardian of her minor

   child A.L. In spite of this, the State of Connecticut Judicial System, Defendant judges, and other

   defendants have all conspired to continue to violate plaintiffs right to the care, custody, education,

   and control of her minor daughter. Plaintiffs rights were never terminated. Plaintiff was never proved

   unfit. Plaintiff has sole legal and sole physical custody of her 9 year old child and has never had any

   substantiations of abuse or neglect.

72. Defendant Lodice has several substantiations of abuse, neglect, and criminal convictions, however the

   fact that he has now been charged with his third felony risk of injury to a minor charge is still not

   enough for the comis to allow plaintiff any access at all or any contact at all with her minor child.

73. One of the biggest aspects of the RICO scheme is that the standard of proof in family court is a

   preponderance of the evidence standard, and the statutes on the "Best interest of the Child" standard

   in the State of Connecticut are unconstitutional.


63- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 64 of 98




74. The Memorandum of Understanding that the State of Connecticut has signed, as well as many of their

   administrative rules and policies, discriminate against mothers, women, those who are poor, and those

   who are uneducated or disabled. The State, and all associated defendants, have regularly and

   repeatedly engaged in conduct that violates the plaintiff's fundamental, constitutional, federal, and

   state law mandated rights.

75. A big part of the scheme is that the state, and all of its associated non-profit organizations and other

   tax exempt entities, receive billions of dollars every year from the federal government, and many times

   they deny individuals like plaintiff any access to the law at all. Plaintiff has only seen her minor four

   year old child for less than 2 days in 6 months, despite trying to file multiple motions for contempt,

   modification, emergency ex parte custody, motion to reargue. See NNH-F A-19-5046828S

76. Not only did Defendant Grossman violate every single one of plaintiff and her minor children's rights,

   but she did so strategically, in a targeted, orchestrated method that involved many of the defendants

   in this action and involved financial incentives offered by Defendant Lodice and Defendant Whole

   House Remodeling Company LLC, with the assistance of his strong connections with individuals such

   as Defendants Gallo, Lambo, and Jamie.

77. Furthermore, the DSS and CCSES fail to comply with federal laws that mandate them to collect child

   suppoti from noncustodial parents and to enforce orders for failure to pay, which allows them to

   continue to receive federal funding without actually using any of the money to help people obtain their

   unpaid support. For instance, the New Haven Child Support Enforcement Services stated that their

   policy is that even if a non-custodial parent is a business owner and has multiple business and personal

   bank accounts with thousands of dollars in available balances, that as long as they pay a minimum of

   $1.00 every 6 months, then NHCSES will not take any action to garnish said parent's bank account

   for the arrears. However, this is unconstitutional in that it violates equal protection since those who


64- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 65 of 98




   have child support orders against those who are not self-employed are able to get wage executions

   implemented by CCSES.

78. CCSES discriminates and violates the equal protection and due process rights ofrecipients in that only

   those who have jobs "on the books" get the orders enforced, which creates an incentive for individuals

   such as defendants Antar and Lodice to avoid working conventional jobs and to instead work in self-

   employment in an effo1i to further commit fraud, embezzlement, tax evasion, and evasion of child

   support duties, all of which amount to obstruction of justice.

79. CCSES and DSS work in concert with one another in order to protect and further their own interests

   within the RICO scheme since only recipients who are receiving cash assistance in the form of welfare

   payments through the DSS are able to get full enforcement of the orders, including garnishment of

   bank accounts.

80. CCSES will garnish bank accounts and seize assets if the money is owed to the State of Connecticut,

   but if the money is owed to an individual who is not receiving cash assistance, CC SES does nothing

   to enforce the order, in direct violation of federal laws and incentives which fund their very existence.

   This is a RICO scheme which allows them to do little to no work and refuse to collect payments unless

   they are being directly reimbursed to the state.

81. Furthermore, the defendant DSS regularly will make access difficult or impossible for those seeking

   services. The regional offices often have lines out the door, with those working in the offices showing

   little to no interest in their jobs, which is a hallmark of the beaurocratic attitude of most employees

   who have the State of Connecticut as one of their employers. The RI CO scheme is able to continue to

   be furthered in that these organizations such as DSS and Husky receive federal funding incentives and

   grants from the federal government which are designed to help low-income individuals who may be

   in need of the resources.


65- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 66 of 98




82. Not only does the State of Connecticut, by and through its agents, completely limit and create extreme

   obstacles and hurdles to those seeking its services, but they simultaneously further their RICO scheme

   by providing sizeable salaries and pensions to their employees complete with full state benefits, while

   many times denying indigent applicants services such as cash assistance or SNAP due to them

   exceeding federal poverty limits by amounts sometimes as low as $4.00.

83. Plaintiff is involved multiple pending civil lawsuits at this time including in the Superior Court for

   Juvenile Matters in Waterbury, CT regarding a petition for termination of parental rights of the

   Defendant Lodice, a child support magistrate IV-D support suit in the New Haven Magistrate Court

   in New Haven, CT, a custody/visitation case in the New Haven Superior Court for family matters, and

   three appellate matters regarding the aforesaid suits and other related suits.

84. Plaintiff is also involved in a pending criminal action in the Derby Superior Court in Derby, CT which

   Plaintiff has filed to remove to the federal district comi based on extreme violations of constitutional

   rights and an inability to enforce said rights in the state court due to the unprecedented and

   extraordinary nature of the circumstances surrounding the overall case and controversy.

85. This action arises from Defendants, acting in concert with one another, arbitrary and improper actions

   such as: (1) adjudicating actions without proper notice and due process for Plaintiff; (2) colluding with

   other court appointees and/or representatives without the Plaintiffls approval; disseminating

   information in a manner that places the minor children's lives in danger; (3) lending a "blind eye" to

   the irrefutable evidence and allegations that the minor child in the case referenced-above (Antar v.

   Lodice) is in extreme danger and doing nothing to substantiate same; (4) ignoring numerous rep01is

   of the abusive father and sexual abuse allegations against the father's son D.L.; and (5) collective

   conspiracy and acts to systematically attempt to discredit and defame the plaintiffs in a targeted

   attempt at covering up this abuse.


66- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1         Filed 10/12/23     Page 67 of 98




86. Defendants, by their actions as officers of the court in the above-referenced case, are endangering the

   lives of the minor children and Plaintiffs. Specifically, the Petitioner/Father is abusive to the parties'

   minor child, who will do anything to maintain his control of the situation.

87. Defendants are failing to allow critical evidence that will substantiate Plaintiffs claims of abuse,

   battery, personal assaults and psychological assaults, neglect, the allowance of sexual abuse and

   exposure to sexual acts, and coercive control of the minor children.

88. In the above-referenced civil "domestic relations" case, the minor child of the parties Lodice and

   Plaintiff is in grave danger. Defendants simply ignore this fact and "lends a deaf ear" to Plaintiffs

   repeated pleas for help.

89. Defendants were cognizant and knew beyond a reasonable doubt that their actions violated Plaintiffs

   constitutional rights yet continued to violate said rights in an effort to silence and prevent Plaintiffs

   from obtaining justice.

90. Defendants are not entitled to any type of "qualified immunity" from liability while performing

   discretionary functions because their conduct clearly violated established statutory and/or

   constitutional rights of which a reasonable person would have known." Harlow v. Fitzgerald, 457 U.S.

   800, 818, 102 S. Ct. 2727, 2738, 73 L. Ed. 2d 396,410 (1982).

91. Moreover, a qualified immunity cannot be invoked by officials who knew that they were violating the

   Constitution (subjective bad faith), or who should have known that they were transgressing a clearly

   established constitutional rule (objective bad faith).

92. This lawsuit concerns the need for equal justice and fairness that is demanded by the United States

   Constitution. Fmihermore, all individuals and citizens within the State of Connecticut are guaranteed

   constitutional protections under federal law. These Defendants ~willfitllv violated federal laws with

   impunity.


67- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS            Document 1         Filed 10/12/23      Page 68 of 98




93. In 1871, Congress created a cause of action,' now codified in 42 U.S.C. section 1983, to redress the

    violation of constitutional rights by persons acting under color of state law. Subsequently, in a fitting

    centennial celebration of section 1983's enactment, the United States Supreme Comi, in Bivens v. Six

    Unknown Named Agents of Federal Bureau of Narcotics, recognized a comparable cause of action

    against federal officials implicit in the Constitution.

94. Plaintiff has sustained general and compensatory damages. See, e.g., Monroe v. Pape, 365 U.S. 167,

    187 (1961).

95. The principal purpose of general compensatory damages is to put the Plaintiff in the same position as

    the Plaintiff would have been but for the Defendant's breach of a legal duty. By placing the costs of

    breach on the wrongdoer, compensatory damages. also perform a deterrence function.

96. Additionally, 42 U.S.C. § 1983 (1976) provides: Every person who, under color of any statute,

    ordinance, regulation, custom, or usage, of any State or Territory, subjects, or uses to be subjected,

    any citizen of the United States or any other person within the jurisdiction thereof to the deprivation

    of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the

    party injured in an action at law, suit in equity, or other proper proceeding for redress. IO 403 U.S.

    388 (1971) (violation of fourth amendment).

97. Jn Carey v. Piphus [435 U.S. 247 (1978)] the Comi ruled that while presumed compensatory damages

    may not be awarded in a section 1983 action for a violation of procedural due process, nominal and

    proven compensatory damages are appropriate to redress such a grievance. Since Congress has not

    specified the damages recoverable in section 1983 and Bivens litigation,"' the courts have drawn upon

   the common law of damages to fashion remedies' for deprivations of constitutional rights.'

98. Civil rights and civil liberties play an important role in today's society. It impacts our daily lives. Civil

    right is the basic right to be free from unequal treatment, based on a ce1iain religion, culture, gender,


68- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 69 of 98




   disability, and race. The freedom of assembly, freedom of speech, voting rights, and equal protection

   under the law are examples of civil rights. These rights give all citizens the opportunity of'' .. .life,

   liberty, and the pursuit of happiness."

99. Defendants have failed to allow the Plaintiff to specifically testify about the current dangerous

   living situations while the minor children are in the father's custody,

100.   Inasmuch, Defendants have awarded full custody of the minor children, despite evidence of the

   dangers, to the abusive father in this case.

101.   The fight for justice, equality, civil liberties and constitutional rights have never been easy. This

   matter too will be hard fought.

               THE FAMILY COURT SYSTEM IN CONNECTICUT IS CORRUPT
102.   Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

103.   The new generation of judges, court actors and mental health professionals too often act like

   accomplices to pedophile criminals, acting in accordance with each other in an overall scheme akin to

   "cash for kids" allowing the enablers of the accurately accused criminals they declare to be acceptable

   custodians of the most vulnerable of our populations.

104.   The world of the family courts supports not just child abuse but child torture and full lifelong

   destruction of children.

105.   Depraved behaviors and children's pleas for help are ignored. Significant self- destructive

   behaviors that include sexual abuse, molestation, cutting and self-mutilation are often ridiculed by

   cruel, indifferent Department of Children and Families (DCF) case workers, present to count bodies

   and make sure that mindless, bureaucratic rules are enforced. These case workers show concern that

   the parent's house is clean and neat with food in the refrigerator and no dishes in the sink, but they fail

   to notice that the baby in the crib is dead or dying.


69- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 70 of 98




106.   In some cases, children are isolated to hide crimes. In other cases, it is to promote the devastation

   of the complaining partner. But in either case, Protective Parents are stripped of marital assets,

   reputations, and careers, saddling them with disproportionate or totally inappropriate child support.

107.   The courts and all associated with them have moved to a dimension of autocratic, anti-

   compassionate attention to the tenets of psychological assessment and treatment.

108.   Child victims can become adult predators. Criminals in court under the guise of judges, attorneys,

   guardian's ad litem, court-appointed psychological evaluators, and other court factotum are

   transforming social space into dangerous territory where predators roam freely.

109.   Plaintiff is beseeching this Court to take notice of the corruption of this system and to take action

   to bring about lasting change.

110.   The associated state agencies and nonprofits and those who work and are associated with said

   organizations and associations systematically use their roles in order to misappropriate funding, deny

   citizens their rights and access to services, and continue to receive federal funding that is intended to

   protect children, support families, and offer legal assistance, while denying individuals those services.

111.   The memorandum of understanding that exists in the State of Connecticut regarding the fathers

   rights initiative, Title IV-D federal funding incentives, and lack of statewide training and resources has

   created a dangerous situation where individuals such as the plaintiffs are being deprived of their legal

   rights and property.

                              RULES OF PROFESSIONAL CONDUCT
112.   Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

113.   While the model rules for professional conduct seem pretty straight forward and structured to deter

   unethical behavior in the comis among both judges and lawyers, in practice it is a remarkable failure.

   The rules serve only to act as mere "window dressing" in most situations dealing with matrimonial


70- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1         Filed 10/12/23    Page 71 of 98




   and child custody cases. Very rarely, if ever, does one hear of an attorney in this area of law reporting

   a judge or lawyer to any oversight or "appropriate professional authority" because doing so could be

   averse to that person's livelihood-it also may be hypocritical of many to report such instances as they

   may be engaging in the same behaviors on occasion.

114.   The state of Connecticut and its associated arms, affiliates, and actors has engaged in a systematic

   pattern of allowing accused and adjudicated batterers to receive joint or sole custody surprisingly

   often.

115.   The state of Connecticut and its associated arms, affiliates, and actors has engaged in a systematic

   pattern of allowing a clear and documented gender bias against women in custody litigation that has

   also been implemented in the criminal justice system and law enforcement agencies throughout the

   state.

116.   The family court system in the state of Connecticut is unconstitutional in that it does not allow or

   afford litigants the right to counsel if they are indigent.

117.   There is a systematic statewide embezzlement scheme occurring within the state of Connecticut,

   and many lawyers who practice in and out of the same courtrooms as the judges in this action will

   almost never report such behaviors including obstruction of justice, bribery, and the concealment of

   sexual abuse as they have to practice in front of the same judges and the same opposing lawyers on

   multiple occasions.

118.   Several attorneys named in this complaint have denied the plaintiff legal representation,

   intentionally given the plaintiff dangerously reckless legal advice, and have played a role in the overall

   corrupt scheme which has been going on for decades within the state.

119.   This creates situations where attorneys who may want to do the right thing by representing those

   who have been victimized by the system or reporting such violations are put in a place where they are


71- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 72 of 98




   forced to weigh the possible retaliation by judges and players that could adversely affect them and

   future clients.

120.   The other concerns for them are the forms of blackballing by peers that sometimes goes on against

   those lawyers blowing the whistle within this industry.

121.   The hurdles to address areas of misconduct are many times insurmountable due to many of the

   entities designed to investigate having been proven to be ineffective, shielded by a cumbersome

   process and system of procedures that filter out many legitimate cases of wrongdoing brought to the

   attention of such groups. Not to mention most of these groups do not have the authority to initiate

   investigations.

122.   The City of New Haven and the New Haven County Bar Association, along with the Judicial

   Review Council have influenced the local media silence on family court corruption and the local media

   is completely silent about the ongoing scandal in its Superior Court Judicial District of New Haven.

   The New Haven Superior Court, city of New Haven, New Haven County Bar Association, and all

   those Defendants named in this action who have some association in the controversy are all engaged

   in corrupt activities and have continued to engage in statewide widespread corruption with no

   oversight.

123.   The Judicial Review Council, which is made up of some of the same judges and lawyers who are

   part of the same Bar Organization and circle of friends and social circle, all protect each other.

124.   The University of Connecticut School of Law pushes an agenda on students that everything is

   about networking and "who you know" and as such creates a dangerous situation where those within

   the judicial system, attorneys, and members of the bar organization in the state of Connecticut handle

   cases by exchanging funds, favors, campaign dollars, or engaging in extrajudicial relationships, ex-




72- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 73 of 98




   parte communications, and back door deals in order to ensure that litigants are exploited financially as

   much as possible.

125.   The State of Connecticut has an unconstitutional practice in that it does not allow attorneys to

   appear Pro Hae Vice for litigants who seek counsel that are not pmi of the corrupt organization unless

   the Pro Hae Vice attorney has a Connecticut Attorney who can endorse them and appear and at any

   and all court proceedings.

126.   The State of Connecticut has an unconstitutional practice in that it does not allow foreign attorneys

   to appear as a foreign legal representative as counsel for clients in Connecticut, but only allows said

   individuals to consult with individuals regarding the laws of their respective nation, unlike the

   neighboring state of New York which allows them to be full counsel.

127.   This is all part of the systematic structured gate-keeping scheme in order to monopolize the cash

   for kids for federal dollars and abuse of federal funding for personal wealth gain that has been ongoing

   in the state for decades.

128.   Many of the judges, pmiicularly Defendant Grossman, have shown an indifference (enjoyment) of

   obvious suffering, concomitant lack of empathy, manipulation and humiliation of children and

   protective parents in an effort to extort funds and misappropriate funding to infiltrate the process of

   court proceedings.

129.   Defendant Grossman in accordance with multiple lawyers and psychologists has engaged in

   racketeering cohorts effectively marshal her victims- children and their protective parents-down the

   assembly line supervised by the local law enforcement and powered by money.

130.   Several of the defendants, in conspiracy and conjunction with one another, pmiicularly Jane

   Grossman, as well as other defendant judges and state actors and their associates are engaged in

   witness tampering, suppression of evidence, and abuse and violation of Due Process.


73- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1         Filed 10/12/23      Page 74 of 98




131.   The Com1ecticut Judicial system, through its family courts are operating a money laundering and

   trafficking operation in total secrecy under the color of law. Without oversight by the public and the

   media, there is no hope that any of this will change.

132.   The state hides under the guise of sovereign immunity and judicial immunity, and the Judicial

   Review Council will systematically ignore any and all valid complaints while intimidating and

   encouraging attorneys not to make complaints.

                                JUDICIAL IMMUNITY IS NOT ABSOLUTE

133.   Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

134.   Plaintiff is not asserting claims against the state court judges or other state actors and affiliates "in

   their official capacity."

135.   Indeed, several allegations contained in this Complaint clearly indicate that Plaintiffs civil rights

   claims against the state actors themselves are independent and directed not at the State of Connecticut;

   rather, at the Defendants as individual "state actors."

136.   For example, this Complaint asserts that Defendants "have acted under the color of the law while

   annihilating the Plaintiffs right to due process defined by the Fifth and Fourteenth Amendments of the

   United States"; that Defendants "have engaged in numerous instances of judicial misconduct"; and

   that Defendants "aimed and purposefully directed their illegitimate actions while sitting on the benches

   of the Superior Courts of Connecticut.

137.   To begin with, the law of judicial immunity has long distinguished between retroactive and

   prospective remedies. In general, suits seeking prospective remedies are not barred by the doctrine of

   judicial immunity. Pulliam v. Allen, 466 U.S. 522, 541-42 (1984) ("judicial immunity is not a bar to

   prospective injunctive relief against a judicial officer acting in her judicial capacity"). Although the

   scope of Pulliam was narrowed by a 1996 amendment to 42 U.S.C. § 1983, declaratory relief remains


74- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 75 of 98




   exempt from judicial immunity under the clear terms of the statute. See Kampfer v. Scullin, 989 F.

   Supp. 194,201 (N.D.N.Y., 1997).

138.   In the instant case, Plaintiff seeks, inter alia, declaratory and injunctive relief against Defendants.

139.   Under the terms of the Third Circuit's ruling in Allen v. DeBello, supra, such relief is certainly not

   barred by the doctrine judicial immunity.

140.   This Complaint explicitly "requests that the Court enter an award in Plaintiffs favor declaring that

   any and all of the Defendant judges orders in regard to cases involving the Plaintiffs violate the

   Fourteenth Amendment civil rights and are thus devoid of any legal force and effect."

141.   A judgment stating that unconstitutional custody and relief from abuse orders issued in continuing

   litigation are "devoid of any legal force and effect" is relevant to every custody-related ruling that will

   arise in the future course of litigation; it is aimed at the "threat of repeated injury in the future" by

   preventing the state court from applying an illegal ruling at any step between the issuance of the

   declaratory judgment and a final order. Such prospective declaratory relief is not barred by judicial

   immunity.

142.   Ajudge enjoys protection from suits under42 U.S.C. § 1983 only to the extent that he/she acts "as

   a neutral and impmiial arbiter of a statute," making no decisions of his/her own in the application of a

   statute of policy. As the Third Circuit Court of Appeals has emphasized, "a judge who acts as an

   enforcer or administrator of a statute can be sued under Section 1983 for declaratory or (if declaratory

   relief is unavailable) injunctive relief." Allen v. De Bello, supra, 861 F.2d at 440 [emphasis added]. See

   also Supreme Court of Virginia v. Consumers Union of the United States, Inc., 446 U.S. 719, 736

   (1980) (judges acting in an "enforcement" capacity are "proper Defendants in a suit for declaratory

   and injunctive relief, just as other enforcement officers and agencies [are]"); Georgevich v. Strauss,

   772 F.2d 1078, 1088 (3rd Cir., 1985) ("Where a suit challenges statutes related to the judicial process


75- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 76 of 98




   or statutes previously enforced by the particular judge against the Plaintiff, judges are proper parties"

   in a civil rights suit) [internal quotation marks omitted].

143.   In this case, Plaintiff does not seek relief from the Defendant as a "neutral arbiter" of a statute or

   policy. Rather, the Complaint alleges that "Defendant's conduct reveals a widespread culture of

   retaliation and deliberate indifference within the judicial system of the Connecticut comi system" and

   "a staggering failure of judicial self-governance institutional system." These allegations reflect the s01i

   of "enforcement" role that renders a judge a "proper party" in a civil rights action under Third Circuit

   precedents such as Allen and Georgevich. Plaintiff alleges that Defendants have both misapplied the

    law in issuing his/her rulings and enforced illegal policies prevalent in the Connecticut courts. It

   follows that Defendants are a proper party to this action, and that no doctrine of judicial immunity bars

   Plaintiffs attempt to seek relief from Defendants' collective administration and enforcement of

    wrongful judicial and statewide policies.

                             RETALITORY ACTIONS BY DEFENDANTS
103. Plaintiff repeats and realleges each of the following paragraphs as if set fo1ih fully herein.

104. On numerous occasions Plaintiff, has filed complaints against the Defendants for unfair, unjust and

prejudicial conduct.

105. Plaintiff has received no meaningful response to any of these complaints.

106. Plaintiffs allegations, therefore, are directed, at least in part, against Defendants in their personal,

not their official, capacity. As the U.S. Supreme Court has emphasized: Personal-capacity suits ... seek to

impose individual liability upon a government officer for actions taken under color of state law. Thus,

" [o]n the merits, to establish personal liability in a § 1983 action, it is enough to show that the official,

acting under color of state law, caused the deprivation of a federal right." Hafer v. Melo, 502 U.S. 21, 25

(1991), quoting Kentucky v. Graham, 473 U.S. 159, 166 (1985) [emphasis in original]. This is precisely


76- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
         Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23       Page 77 of 98




the nature of Plaintiffs allegations in this case. And such claims are not barred by the Eleventh

Amendment. "[T]he Eleventh Amendment," the Supreme Court has clearly stated, "provides no shield for

a state official confronted by a claim that he had deprived another of a federal right under the color of state

law." Id., 502 U.S. at 30, quoting Scheuer v. Rhodes, 416 U.S. 232,237 (1974). Thus, any attempt to

establish immunity from suit under the Eleventh Amendment- based as it is on a misrepresentation of

Plaintiffs allegations - must fail.

107 .Defendants have collectively engaged in copious additional patterns of retaliatory conduct, such as

    setting Plaintiff up for constant violations of court orders under credulous and false pretense.

108.Parents have reported judges, attorneys, guardians, and psychiatrists to authorities who are to

    investigate complaints. To no avail they are never held accountable and continue to keep on providing

    injustice. It does not matter what judge you have because if they take you off their caseload, you will

    just get another judge doing the same thing.

109.Despite all of the abusive conduct by the father, Defendants transferred sole legal and sole physical

    custody to the violent and sadistic father who is on the DCF abuse and neglect registry and has no

    stable home of his own or adequate ability to care for said child.

11 0.Collectively, the Defendants actions reap of collusion with the cruel and abusive father.

111.Inasmuch, Defendants are unwilling to protect the minor child A.L. 's safety; rather, they are willing

    to go extraordinary lengths to track down a protective parent like a common criminal and to separate

    the minor children from their primary loving and caring mother indefinitely with no clear path of

    reunification and no legal method of modification of any such orders.

112.The Defendants' actions give credence and credibility to the likelihood that Defendants are colluding,

    aiding and abetting, and obstructing justice in an effort to further the overall goal of financial gain




77- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 78 of 98




    and the obstruction of justice in prevention of criminal charges being initiated against the defendant

    Lodice and his minor son D.L.

113 .Defendants conduct reveals a widespread culture of retaliation, racketeering, trafficking, money

    laundering, misuse of federal funding, torture, deprivation of rights, concealment and enabling of

    sexual abuse of children, bribery, and deliberate indifference within the judicial system of the

    Connecticut judicial system and its associates.

114.The conduct of the Defendants also represents a staggering failure of the judicial self-governance

    institutional system.

115.The Connecticut State judiciary will not police itself voluntarily. This is a set of facts that calls for

    personal liability, punitive damages, systemic injunctive relief, and external intervention and

    oversight of the Defendants and the Connecticut State judiciary.

116.A phrase that Theodore Roosevelt made popular should be stated here:· "No man is above the law and

    no man is below it; nor do we ask any man's permission when we ask him to obey it."

                            LEGAL OPINIONS, BELIEFS AND THOUGHTS
117.The United States Constitution is based on one rather undemocratic idea, the idea that there is a need

    for protection against a tyranny by the majority. The Constitution recognizes that, while there should

    be majoritarian control of the government, there also should be some form of restraint upon the

    majority, because majorities can be selfish and oppressive or tyrannical, and some rights are so

    important that they should belong to everyone, even if the majority does not think so.

118.So, while the American system of government is primarily democratic or majoritarian, it is not purely

    so. The Constitution of the United States creates a government that operates as a limited democracy

    or what is at times referred to as a constitutional democracy because it places constitutional limits

    upon the authority of the government.


78- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS             Document 1      Filed 10/12/23       Page 79 of 98




119.Most of these limits can be found in the Bill of Rights of the Constitution, which states, for example,

    that Congress shall make no law abridging freedom of speech, and that no state shall deprive any

    person of life, liberty, or property without due process of law or deny to any person the equal

    protection of the laws.

120.So, even if Congress and the President, which after all are elected by the people, decided unanimously

    to abridge someone's freedom of speech, they are proscribed from doing so by the Constitution. Even

    if a state legislature and governor voted unanimously to deny a person or group the equal protection

    of the laws, the state is prevented from doing so by the Constitution. The Constitution itself limits the

    authority of the Congress, the President, and the states to deprive individuals of their rights.

121.Moreover, the branch of government that was specifically designed to protect the rights of individuals

    and to. make certain that the other branches of government do not exceed their constitutional authority

    is the judiciary. Because they are appointed rather than elected and because they do not have to stand

    for reelection, federal judges are part of the counter- majoritarian branch of government. As. a counter-

    majoritarian branch of government, the federal judiciary functions to oversee the other branches of

    government,. that is, the majoritarian branches of government, to make sure they do not engage in

    tyranny by the majority.

122.Again, beginning with the Declaration ofindependence and culminating in the Constitution and Bill

    of Rights, the Founders of our nation adhered to a steadfast dedication to the rule of law. To achieve

    that critical goal, our forefathers.

123.The family court system in the United States is failing our children. Our appointed judges and

    commissioners are supposed to act in the best interest of the child, but unfortunately, they are not.




79- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 80 of 98




124.The pendulum has been swung too far in different directions when it comes to mothers' rights and

    fathers' rights. We should not be sold on the notion that an individual should have rights just because

    they have the ability to procreate. A child's right to be safe and loved should supersede parental rights.

125.The adversarial process of the court brings out the worst behavior for those with personality disorders.

    They become extremely defensive and often much more dangerous, as they resort to extreme efforts

    for power and control over the other paiiy, the children, the professionals and the judge. This can

    include lying, spreading rumors, hiding money, hiding children, false allegations and even violence.

126.Quite simply, the judges and commissioners of the family court system are not taking the proper time

    to evaluate high-conflict custody cases. The judges are too focused on moving cases through the

    courtroom like cattle. Two healthy parents should be able to come to an agreement based on what is

    in the best interest of the child.

127.Much like a doctor becomes accustomed to the cycle of life, our courts have become accustomed to

    abuse, neglect and abandonment. This issue begins in the courtroom and trickles down to everyone

    who has a hand in the family court system. This includes the very people who are supposed to protect

    our children such as parenting evaluators, counselors and therapists, Guardian ad Lidem and Child

    Welfare Services. As a society, we should demand a higher threshold when it comes to our children.

    Sadly, these issues come back to parental rights and the fact that the family court system places a

    higher priority on parental rights than what is truly in the best interest of our children.

128.Abusers routinely use family court as a weapon to punish their ex-spouses. The family court system

    has become a sword and not a place for fairness, justice, or child safety. It is appalling that comis are

    unable to detect who the high conflict party is, often lumping the victim into the mix. We need to raise

    awareness for all the parents who have lost custody battles and for the children who get caught in the

    crossfire.


80- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 81 of 98




129.Expensive attorneys have perpetuated this problem and need to be held accountable, too. Most of the

    time, these abusers just want to get off the hook of paying child support. Even worse is when they

    seek revenge by attempting to make the other parent pay them child support. Abusers do this by

    attempting to win full custody. Sadly, many times, this trick works! It is happening every day across

    America. It is a dirty tactic, and it needs to not only be stopped but prevented!

130.Our national statistics show that over a hundred children per year are killed by the parent that the

    judge mistakenly placed them with following a trial. This is a complete and tragic failure of the family

    courts. It's also the personal failure of the judges who are not able to detect immediate threats to

    children's safety. While some courts tunnel vision on assigning parents' rights to their children, the

    more important concern of a family court should be to protect the children. Child safety should come

    first! Money should not buy sole legal custody. Money-hungry, unethical lawyers shouldn't help beat

    up an ex who is just trying to be a good, loving mother and get away from an abuser.

131.Plaintiff and her minor children is one of the victims of family court abuse by her child's father. Each

    year, he has threatened the Plaintiff and given her an ultimatum of sexual relations or loss of custody,

    violated any and all court orders, filed countless, senseless motions and lied under oath in order to

    obstruct justice and coercively control and punish the plaintiffs indefinetly through the justice system.

    I have not neglected nor abused our children-like he falsely accuses me.

132. Defendant Lodice stated he would "guarantee" that the minor child A.L. be transferred into his

    custody and cited his relationship with several of the defendants as his connection and ability to bribe,

    secure, and guarantee said transfer of custody despite his concerning record of violence and abuse.

133 .As we all already know, major portion of our legal system's failure to protect abused children occurs

    in state family courts. Understandably, when the abuser is a parent of the child and the other parent is

    innocent of any complicity in the abuse, the "protective parent" often seeks to dissolve the


81- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 82 of 98




    relationship, or, if the abuse is discovered post-separation, seeks to restrict or eliminate visitation

    privileges. Unfortunately, the judicial system from which the protective parent and child are seeking

    justice and protection is comprised of judges and court personnel who lack sufficient training in child

    abuse issue and are often indifferent to the child's allegations of abuse, particularly allegations of

    sexual abuse.

134.Mental health professionals and attorneys' ad litem are often appointed by judges in return for

    campaign favors and tend to be mere puppets of the court. Further, critical court decisions can be

    based more on personal relationships with lawyers than on sound legal principals. As a result, the

    protection of the child and any due process to which the child is entitled is given little or no

    consideration and the abuser is frequently given unrestricted visitation with the child, if not outright

    possession. Child abuse, whether sexual or physical, and child protection becomes only incidentally

    a custody question.

135.Traumatized originally by the perpetrator, the child is victimized again by the legal system designed

    to protect him/her. This legal system was originally put into place in order to identify children who

    had been abused or severely neglected by their parents or caretakers, remove those children at risk of

    further abuse or neglect and place them in protective custody (or terminate parental rights and place

    the child with adoptive parents), and bring perpetrators of child abuse and criminal neglect before the

    bar of justice. However, since its creation, this system has devolved into one where incompetent,

    ineffective, overwhelmed, and sometime corrupt government officials and entire bureaucracies, who

    are accountable to no one, are making decisions resulting in abused and neglected children being left

    in dangerous homes.

136.Although an alarming picture of the family courts' failure to protect children has already developed,

    the best evidence in suppo1i of this, particularly in cases involving parents attempting to save their


82- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
           Case 3:23-cv-01337-MPS         Document 1        Filed 10/12/23      Page 83 of 98




    children from further abuse, often involves court proceedings wherein the records have been sealed.

    Allegations of altered transcripts altered or destroyed government documents, ex parte'

    communications, and hearings held and orders issued without court reporters are not limited to the

    few highly publicized child abuse cases which make national news but are being heard throughout

    nation. Statistical data in support of this failure and its impact on our nation is overwhelming.

13 7.Fundamental to understanding why we are failing the abused child is the fact that children who are

    victims of crimes are treated differently from all other victims of crimes. Only in instances of crimes

    against children does our law enforcement establishment allow DCF, a social service agency, lacking

    law enforcement training, experience, and priorities to receive the initial report of abuse, to perform

    the initial "civil" investigation of the crime, and dictate the progress of the criminal case.

138.Only in cases of child abuse is a victim forced by the state to live in the same home nwith his or her

    abuser. And, only in cases of child abuse is a person denied the right to be safe in his or her own home.

    This points out a fundamental issue involving the rights of children: They have no rights. Because

    children cannot speak for themselves, they are denied access to justice and equal protection under the

    law.

139.Allowing DCF to control the criminal investigation and the determination of when or ifto remove the

    child from harm's way has proved to be a fatal error by law enforcement.

140. The statewide systematic approach to investigating allegations of childhood sexual abuse in the state

    of Connecticut not only silences young victims of abuse but also eliminates due process and violates

    the constitutional rights of crime victims.

141. Whereas police agencies measure their response time to the scene of adult crimes in minutes (and

    child abuse cases invariably involve first degree felonies where the child is literally being held hostage

    by the perpetrator), DCF measures acceptable response time in terms of days. A "priority one" or life-


83- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 84 of 98




    threatening report of child abuse means DCF is required under their own guidelines to make the crime

    scene in 24 hours!

142.Worse yet, DCF lacks the victim's perspective of law enforcement (whose complaining witness must

    be protected to preserve the criminal case). DCF's "client" is not the child, but the family. Their goal

    is to rehabilitate the perpetrator and preserve the "family unit"; to perform a social experiment at the

    child's expense. Unfortunately, few of such experiments have shown to be successful. Rates of re-

    abuse in such homes are astronomically high.

143.This family preservation bias has been strongly motivated by federal funding which has required, as

    a condition to receipt of the funds, that local DCF agencies demonstrate that "reasonable efforts" have

    been made to preserve the family. Not surprisingly, when the vulnerable child abuse victim is kept in

    the same home with the person whom they may testify against and perhaps send to prison, the child

    often forgets or "recants" the allegations. This would be no different than forcing an adult victim of

    rape or battery to live with their rapist or batterer during the pendency of the criminal investigation,

    except that children are placed in even greater danger. It is inherently contradictory to have the same

    agency responsible for the investigation of a crime and protection of the child, on the one hand, and

    the preservation of the abusive family on the other! Despite the best intentions of the most dedicated

    social worker, a child cannot be protected in an abusive home.

144.As various parts of the country have experienced "system failures" with DCF, a national consensus

    has developed that this family preservation agenda is risky and unworkable, and that children must

    be removed from homes whenever they are abused or neglected. This attitude is strongly supported

    by research from the social sciences. While some efforts to rehabilitate parents who neglect or abuse

   their children have been successful, the results have never been predictable. In fact, the overwhelming

   statistical and clinical evidence indicates that most child abusers will continue to abuse, regardless of


84- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 85 of 98




    rehabilitation programs. Dr. Michael Stone, Ph.D., a nationally recognized expert on family violence

    and formerly one of the strongest proponents of family preservation, has stated that the evidence is

    in, and the policy of family preservation has been an abysmal failure.

145.Parents have reported judges, attorneys, guardians, and psychiatrists to authorities who are to

    investigate complaints. To no avail they are never held accountable and continue to keep on providing

    injustice. It does not matter what judge you have because if they take you off their caseload, you will

    just get another judge doing the same thing.

146. The standard for disqualification for bias or prejudice 1s fundamentally an objective one. It represents

    a legislative judgment that, due to the sensitivity of the question and inherent difficulties of proof, as

    well as the imp01iance of public confidence in the judicial system, the issue is not limited to the

    existence of the actual bias. Rather, if a reasonable person would entertain doubts concerning the

    judge's impartiality, disqualification is mandated. To ensure that the proceedings appear to the public

    to be impartial and hence w01ihy of their confidence, the situation must be viewed through the eyes

    of the objective person. The standard indicates that the decision is not based on the judge's personal

    view of his own impartiality, and also suggests that the litigant's necessarily partisan views do not

    provide the applicable frame of reference. Rather, the judge ought to consider how his or her

    participation in a given case looks to the average person on the street.

                                               COUNT ONE
Violation of the Unites States Constitution Fourteenth Amendment

14 7. Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

148.All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are citizens

    of the United States and of the State wherein they reside. No State shall make or enforce any law

    which shall abridge the privileges or immunities of citizens of the United States; nor shall any State


85- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23     Page 86 of 98




    deprive any person of life, liberty, or property, without due process of law; nor deny to any person

    within its jurisdiction the equal protection of the laws.

149.The individual rights protected under the Fomieenth Amendment can be understood in three

    categories: (1) "procedural due process;" (2) the individual rights listed in the Bill of Rights,

    "incorporated" against the states; and (3) "substantive due process."

150."Procedural due process" concerns the procedures that the government must follow before it deprives

    an individual of life, liberty, or property. The key questions are: What procedures satisfy due process?

    And what constitutes "life, liberty, or property"?

151.Historically, due process ordinarily entailed a jury trial. The jury determined the facts, and the judge

    enforced the law. In the past two centuries, however, states have developed a variety of institutions

    and procedures for adjudicating disputes. Making room for these innovations, the Comi has

    determined that due process requires, at a minimum: (1) notice; (2) an opportunity to be heard; and

    (3) an impmiial tribunal. Mullane v. Central Hanover Bank (1950).

152.Defendants have constantly ignored evidence that father had coerced, threatened and psychologically

    abused the minor children and made disparaging remarks about the Plaintiff /Mother.

153.Defendants engaged in collective improper ex-parte' communications with one another in an eff01i to

    obstruct justice and ensure personal financial gains and incentives in the above-referenced cases.

154.Defendants continually treated the Plaintiff in a demonstrably egregious and hostile manner.

15 5 .Moreover, Defendants retaliated against the Plaintiff for reporting judicial misconduct and

    wrongdoing.

156.Specifically, Defendant Grossman continues to harass the Plaintiff with disparaging remarks,

    defamat01y and slanderous public written opinions, and unfounded accusations.




86- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23      Page 87 of 98




157 .Apparently, Defendant Grossman sports a psychological and psychiatric license to properly and

    medically evaluate the Plaintiff. Of course, all of the above-referenced banter is categorically false

    and incorrect.

158.Clearly, Defendant Grossman is stepping "outside of her lane" by making such personal remarks to

    Ms. Cleary.

159.Defendant Grossman jointly with other defendants would openly conspire and collude with one

    another before, during, and after these hearings.

160. Defendant Grossman goes on to suggest that the mother should have an ... "assessment by psychiatrist

    with a PhD level to determine" why the mother has allegedly "lied" about the sexual abuse allegations

    regarding her minor child A.L.

161.Tangentially, the abusive father has never been mandated to likewise have an assessment by a

    psychotherapist whatsoever. He was also exempt from an order to sign releases for the mental health

    treatment records from his previous provider, despite the defendant Grossman threatening the plaintiff

    with adverse legal action if she didn't comply. The hypocrisy is clear and the point well-taken.

                                              COUNTTWO
Civil Action for Deprivation of Rights - Retaliation (42 U.S.C. § 1983)

162.Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

163 .Defendants unlawfully retaliated against Plaintiff for opposing them and filing complaints against

    them.

164.Defendants' retaliations deprived Plaintiff of her right to equal protection guaranteed by the Fourth

    Amendment to the United States Constitution.

165.Defendants' retaliation deprived Plaintiff of her right to due process under the la Defendants'

    retaliation caused Plaintiff damages enumerated below.


87- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1       Filed 10/12/23       Page 88 of 98




                                             COUNT THREE
Civil Action for Deprivation of Rights - Retaliation Freedom of Speech (42 U.S.C. § 1983)

166.Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

167 .Plaintiff engaged in constitutionally protected speech on matters of public concern, including but not

    limited to, speech concerning ongoing corruption, harassment, and retaliation by Defendants and

    within the Connecticut court system.

168.Defendants' retaliation deprived Plaintiff of her right to equal protection guaranteed by the Fifth

    Amendment to the United States Constitution.

169 .Defendants' retaliation caused Plaintiff damages enumerated below.

                                                COUNT FOUR

    Civil Action for multiple violations of RICO by the Antar/Katagis/Ganim/Antonellis Family

    enterprise for Deprivation of rights -Obstruction of Justice, Accessories to felony sexual

    assault after the fact, Tampering with a witness, Violations of mandatory child abuse and

    neglect reporting laws, and Violations of plaintiff and plaintiff's minor children's civil rights

    under federal and constitutional and state law.

170.Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

171.The family enterprise that consists of multiple named defendants and other unnamed participants

    conspired and engaged in a RICO scheme in an effort to deliberately obstruct justice and cover up the

    sexual abuse of plaintiff suffered at the hands of Defendant Katagis for the majority of her formative

    years.

172.The entire family before, during, and after the conviction of Defendant Katagis, deliberately engaged

    in a RICO scheme that involved extortion, obstruction of justice, tampering with and

    bribing/intimidating a witness, and violation of rights.


88- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 89 of 98




173 .Many of the individuals are, or were mandated reporters at the time and still chose not to report the

    sexual abuse of plaintiff to authorities or to DCF.

174.The same family enterprise also refused to intervene or report any abuse or neglect of minor child

    A.L., despite her being abused, neglected, and uncared for without anyone being able to rescue her

    from this abuse.

175.As a whole, this sub-RICO enterprise has used their political and state powers as well as their

    influence with others who are in such positions in order to attempt to pay off plaintiff to silence her

    regarding the sexual abuse she suffered because of Katagis.

176.Defendant Antonellis told plaintiff that she could have any amount of cash that she wanted, and that

    Katagis would pay, if she agreed not to go to the Connecticut State Police Troop I in Bethany, CT to

    provide a second statement to police in 2006 regarding the sexual abuse that occurred in her

    childhood.

177.Plaintiff did not accept this bribe and instead said she was seeking justice, validation, and to be free

    from abuse and neglect and sexual assault.

178.As such, the entire family abandoned plaintift: continued to harass, intentionally cause emotional

    distress and harm, isolate, ostracize and discredit plaintiff in an effort to protect defendant Katagis.

179 .Even after defendant Katagis plead guilty to the crimes, the family still treated plaintiff and her minor

    children as strangers in the family, making sure that neither plaintiff nor either of her two children

    would ever be invited to any family gathering.

180.From 2009 when Katagis plead guilty, until now, this "family enterprise" has gathered for each and

    every special occasions over the last fourteen years while plaintiff was left isolated and alone without

    any family, home, money, or support.

181. To date, this enterprise of defendant has continued the tradition of obstructing justice and suppressing


89- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1        Filed 10/12/23      Page 90 of 98




    evidence of sexual abuse, refusing to make mandated reports, and allowing the abuse to continue

    through acts, omissions, or affiliations in conce1i with other state actor defendants.

182. The actions of the defendants that are members of this sub-enterprise engaged in organized crime and

    violated the RICO act repeatedly through creating an illegal enterprise and a pattern of racketeering

    activity that allowed for sexual abuse to continue for two generations through both plaintiff and her

    minor daughter A.L.

183.The actions taken by this enterprise (hereinafter "GAKA") constitute racketeering activity and are

    affected by several enterprises affecting interstate commerce, specifically those organized and

    operated by defendants Antar and Ganim.

184.Further, Defendant Antar conspired with Defendant Joe Ganim, Mayor of Bridgeport, in an effort to

    conspire against the United States to shorten their sentences while they were both in federal custody

    of the United States at Federal Correctional Institution Beckley together in Beaver, West Virginia

    between 2011-2014.

185.Any and all members of the GAKA sub-enterprise were also acting under the overarching blanket of

    the State of Connecticut through acts, omissions, and affiliations in order to continue to defame,

    discredit, torture, and emotionally harm the plaintiff and her children by forcing them to be estranged

    and isolated from the entirety of the family and excluded from any and all baptisms, weddings,

    holidays, birthday parties, and other family gatherings.

186.Defendant Anastasia Ganim not only failed to uphold her oath as a state employee and failed to report

    abuse of plaintiff or her minor child, but she even chose to have defendant Katagis as the honorary

    "man of honor" at her wedding to Chris Ganim, while excluding plaintiff due to plaintiff expressing

    discomfort with being in the same wedding party as the individual who sexually abused her for the

    entirety of her childhood and left her with life-long trauma.


90- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23      Page 91 of 98




187. The acts of this family enterprise did, do, and will continue to cause the plaintiff and her minor

    children irreparable harm in the future.

188.They knew, or should have known, that their actions would cause irreparable harm, yet still proceeded

    to go forth with said acts, omissions, and affiliations in an effort to harm plaintiff and her minor

    children.



  COUNT FOUR VIOLATIONS OF LAW ENFORCEMENT OFFICERS- DEPRIVATION OF

                                                  RIGHTS

189 .Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

190.Plaintiff has been subjected to extreme and severe intimidation, threats, discrimination, violations of

    equal protection rights, and other violations of my rights as a victim of a crime by the Defendant

    Police Officers in this action and their respective departments.

191. Defendant law enforcement officers and law enforcement departments named in this action have

    systematically and routinely discriminated against plaintiff and subjected her to severe emotional

    distress and harm.

192.The Orange Police Department and Waterbury Police Depatiments have routinely used severe levels

    of intimidations, threats, and attempts to try to coerce plaintiff into not writing a statement or

    submitting an affidavit for the warrant of the arrest of defendant Lodice for his ongoing abuse and

    harassment.

193. Lieutenant DeReubies of the Orange Police Department attempted to intimidate, insult, threaten,

    scare, mock, and harass the plaintiff when she attempted to write a statement. Plaintiff was told she

    did not have such right to make a statement and other defendant officers have routinely denied

    Plaintiff these rights, as well.


91- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1         Filed 10/12/23      Page 92 of 98




194.Plaintiff now lives in constant fear of not being able to report crime as the Orange Police Department

    and their associated officers and dispatchers have subjected plaintiff to discriminatory treatment that

    violates her rights and those of her minor children.

195.The Defendants have been subjecting plaintiff to extreme retaliation and extreme favoritism and

    protection of defendant Lodice who has a strong network of police and judicial and state marshals

    and correctional officers.

196. Defendant officers from the Orange Police Department and Waterbury Police department have

    regularly tried to scare and use coercion against plaintiff to try to deter her from making a report,

    refuse to take the call in from dispatch, refuse to allow plaintiff to have an officer call her back or take

    her complaint, and laugh, mock, belittle, and intimidate plaintiff to the point where plaintiff no longer

    feels safe or protected by the law enforcement officers whose job it is to have a duty to protect her

    and her children.

197. Defendant officers named in this action have violated plaintiff's rights severely, particulary in the

    Waterbury Police Department and the Orange Police Department, as well as with the New Britain

    Police Department.

198. None of the aforementioned depmiments or any other officers or departments named in this complaint

    have conducted investigations in a fair and unbiased manner, but rather have shown extreme bias and

    retaliation toward the plaintiff for her attempts to try to seek services from the police.

199 .None of the aforementioned departments have shown the plaintiff or her minor children any respect

    and have violated all of our rights under the ADA, CAPTA, VAWA, crime victims rights, and rights

   to seek services without being discriminated against in compliance with due process and equal

   protection rights set forth in the fourteenth amendment.




92- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS            Document 1        Filed 10/12/23       Page 93 of 98




200.Plaintiffs rights have been violated so badly that plaintiff can no longer call either department without

    being treated extremely different than any other civilian, which causes plaintiff extreme level of

    emotional distress and fear.

                 DEFENDANTS CONDUCT WARRANTS PUNITIVE DAMAGES
20 I.Plaintiff repeats and realleges each of the following paragraphs as if set forth fully herein.

202.Defendants conduct warrants the imposition of punitive damages. The factors justifying punitive

    damages, include but are not limited to, the following:

       a. Defendants ignored information available to them that re-enforced the dangerous and abusive

            conduct of the father;

       b. Defendants acted with knowledge that their statements and actions were false;

       c. Defendants acted with knowledge of Plaintiff's deep-seated love for her children, citing

            statements they knew to be legitimate; nevertheless, they colluded against the Plaintiff:/Mother

            and more specifically, her minor children.

       d. Defendants knew that their actions would have a damaging impact on the Plaintiff and her

            minor children's lives; and did so as a cruel and unusual punishment in order to inflict suffering

            and emotional harm on plaintiff.

       e. Each municipality named in this complaint failed to protect plaintiff and her minor children,

            failed to uphold their legal duties, misused federal funding incentives, and directly or indirectly

            caused abuse, neglect, and violence to continue in perpetuity.

       f.   Each state actor or arm of the state named in this complained failed to provide services that

            they were contracted to provide, violated state and federal laws, and treated plaintiff with an

            immeasurable level of bias, discrimination, intimidation, harassment, abuse, and psychological

            torture over the course of the past year and a half.


93- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS              Document 1      Filed 10/12/23      Page 94 of 98




       g. There is clear evidence that, within their sub-organizations that are all interconnected with one

            another, that each of the sub-enterprises created their own RICO scheme that affected interstate

            and foreign commerce by misuse of federal funding, fraud, tax evasion, and other violations

            through a clear, longstanding pattern of racketeering activity supported by the intentional lack

            of oversight in the State of Connecticut.

       h. Each time that a federal court dismisses a complaint that alleges anything to do with family

            court or the system, it only enables the state courts and state actors to freely dictate the terms

            of the lives of innocent litigants, many of which are poor, uneducated, and cannot fight against

            the system that intends to exploit them and their children for what amounts to billions of dollars

            in federal funding each year.




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                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiff's favor, and against

Defendants, as follows:

       a.       awarding Plaintiff compensatory damages in an amount to be determined;

       b.       awarding Plaintiff punitive damages in an amount to be determined;

       c.       awarding Plaintiff all expenses and costs, including but not limited to, all attorney's fees

                (if applicable);

94- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
       Case 3:23-cv-01337-MPS         Document 1        Filed 10/12/23    Page 95 of 98




      d.    declaring that Defendant Grossman's orders violates the Fourteenth Amendment civil

            rights and is thus devoid of any legal force or effect;

      c.    enjoining Defendants from enforcing the established Comi Orders against the Plaintiff and

            recusing Defendants from Plaintiffs civil case;

      f.    an order to stay judgment and proceedings in the NNH-FA-19-5046828S case until further

            notice and an injunction ordering reunification of Plaintiff and her minor daughter J.V. to

            take place immediately with minor daughter A.L.

      g.    Monetary award in damages payable to the Plaintiff not less than fifteen million dollars

            ($15,000,000.00) in collective damages; and

      h.    such other and further relief as the Court may deem appropriate and just.




95- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1           Filed 10/12/23   Page 96 of 98




                            DECLARATION OF THEODORA F. ANTAR

I, Theodora F. Antar, declares as follows:

l.     I am over the age of eighteen (18) years of age and am a party to this action. I have personal

       knowledge of the facts stated in this declaration, and if called as a witness, could and would testify

       competently to the truth of the facts stated herein.

2.     I make this declaration in support of this Complaint for Fraud, Racketeering, Abuse of Process,

       Civil Conspiracy, Damages, Declaratory Relief and Injunctive Relief.

3.     I respectfully request that the Comi accept my Complaint and grant the requested Declaratory and

       Injunctive Relief.

4.     I declare under penalty of pe1jury under the laws of the State of Connecticut that the foregoing is

       true and correct and that this Declaration was executed on October 12th, 2023 in Orange,

       Connecticut.




                                                      Theodora Antar, Pro Se

                                                      856 Shagbark Drive, Orange, CT, 06477

                                                       thcodoraantarra,;umail.com

                                                      Phone: (203)273-8419




96- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS                            Document 1                                Filed 10/12/23   Page 97 of 98




                                  CERTIFICATION AND CLOSING

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,

information, and belief that this complaint: (1) is not being presented for an improper purpose, such as to

harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing

law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual

contentions have evidentiary support or, if specifically so identified, will likely have evidentiary support

after a reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise

complies with the requirements of Rule 11.




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                                                               /                             Theodora Antar, Pro S
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                                  V                                                          Phone: (203)273-8419




97- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
        Case 3:23-cv-01337-MPS           Document 1       Filed 10/12/23      Page 98 of 98




                        DECLARATION UNDER PENALTY OF PER.JURY
       The undersigned declares under penalty of perjury that she is the Plaintiff in the above action, that

she has read the above Complaint and that the information contained in the Complaint is true and correct.

28 U.S.C. § 1746; 18 U.S.C. § 1621.




98- COMPLAINT FOR FRAUD, RACKETEERING, ABUSE OF PROCESS, AND CIVIL CONSPIRACY
